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                                             Office of Legal Counsel
                                            U.S. Department of Justice

      *1 APPROPRIATE SOURCE FOR PAYMENT OF JUDGMENTS AND SETTLEMENTS IN
                         UNITED STATES V. WINSTAR CORP.
                              AND RELATED CASES

                                                   July 22, 1998

The Federal Savings and Loan Insurance Corporation Resolution Fund is the appropriate source of payment for
judgments against, and settlements by, the United States in United States v. Winstar Corp. and similar cases
arising from the breach of certain agreements to which the Federal Savings and Loan Insurance Corporation was
a party.

MEMORANDUM FOR NEAL S. WOLIN
DEPUTY GENERAL COUNSEL
DEPARTMENT OF THE TREASURY

On July 1, 1996, the Supreme Court decided United States v. Winstar Corp., 518 U.S. 839 (1996). The Court
held that the United States was liable in three cases for breaching contracts into which it had entered with entit-
ies that took over failing thrifts during the savings and loan crisis of the 1980's. Because the United States Court
of Federal Claims (“CFC”) had not yet determined the appropriate measure or amount of damages, the Supreme
Court remanded for further proceedings. Id. at 910. After the Winstar decision was handed down, a large number
of cases premised on identical or similar theories of relief that had been stayed pending the Supreme Court's de-
cision were activated. FN;B1[FN1]FN;F1 We understand that in virtually all of these cases, which are currently
pending before the CFC or the United States Court of Appeals for the Federal Circuit, the government contests
liability and/or disagrees with the plaintiffs regarding the appropriate measure or amount of damages.

You have asked for our views regarding the appropriate source for payment of judgments in the Winstar-related
cases. FN;B2[FN2]FN;F2 Because the government is currently considering the possibility of settling two of the
three cases that the Supreme Court considered in Winstar, as well as certain otherWinstar-related cases, you
have also asked for our opinion regarding the appropriate source of funds for the payment of such settlements.
The appropriate source of funds for a settled case is identical to the appropriate source of funds should a judg-
ment in that case be entered against the government. See Availability of Judgment Fund in Cases Not Involving
a Money Judgment Claim, 13 Op. O.L.C. 98, 103 (1989) (“[I]n determining whether a proposed settlement is
payable from the Judgment Fund, the Attorney General or his designee should examine the underlying cause of
action, and decide whether the rendering of a final judgment against the United States under such a cause would
have required a payment from the Judgment Fund.”); 3 Office of the General Counsel, United States General
Accounting Office, Principles of Federal Appropriations Law 14-9 (2d ed. 1994) (“GAO Principles”) (stating
that compromise settlements have no effect on the source of funds). FN;B3[FN3]FN;F3




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Our discussion of the appropriate source of funds necessarily is premised on courts finding the government li-
able or on the government entering into settlements based on the risk that a court would find the government li-
able. We do not, however, mean to suggest that we have reached any conclusions regarding the likelihood of
such potential findings. We discuss cases in the context of a finding of government liability because it is only in
those cases, and in settlements entered into due to the risk of such a finding, that the appropriate source of funds
for the payment of judgments by the government is an issue.

*2 We understand from the Commercial Litigation Branch of the Civil Division of the Department of Justice
that, to the extent that the government has settled or is engaged in settlement negotiations in any of the Winstar-
related cases, these cases involve “Assistance Agreements” or “Supervisory Action Agreements” to which the
Federal Savings and Loan Insurance Corporation (“FSLIC”) was a party. We have therefore limited our analysis
of the appropriate source of payment for settlements or potential judgments to the Winstar-related cases in
which FSLIC was a party to the underlying Assistance Agreements and Supervisory Action Agreements. FN;B4
[FN4]FN;F4

Based upon the information currently available to us, we believe that the FSLIC Resolution Fund is the appro-
priate source of funds to pay judgments and settlements in Winstar-related cases in which FSLIC was a party to
an Assistance Agreement or Supervisory Action Agreement. FN;B5[FN5]FN;F5 Congress created the FSLIC
Resolution Fund to assume, with a single statutory exception that is not relevant here, 12 U.S.C. § 1441a (1994),
“all assets and liabilities of the FSLIC on the day before” FSLIC was abolished. 12 U.S.C. § 1821a(a)(2) (1994).
Although the term “liabilities” is not defined in the statute, its ordinary meaning includes contingent liabilities,
such as certain contractual obligations, and there is no reason to believe that Congress departed from this ordin-
ary meaning when it created the FSLIC Resolution Fund. Based on the Supreme Court's theory of liability in
Winstar, we believe that the judgments or settlements in the Winstar-related cases in which FSLIC was a party
to the underlying Assistance Agreements and Supervisory Action Agreements would qualify as “liabilities” of
FSLIC under § 1821a(a)(2). Accordingly, in these cases, the potential judgments, and the settlements entered in-
to to avoid the risk of such judgments, are payable from the FSLIC Resolution Fund. Because payment is
“otherwise provided for” within the meaning of the Judgment Fund statute, the Judgment Fund is not available
to pay such judgments and settlements. See 31 U.S.C. § 1304 (1994).

I. BACKGROUND
During the Great Depression, over 1,700 savings and loans, or “thrifts,” failed because borrowers could not pay
their mortgages. See H.R. Rep. No. 101-54, pt. 1, at 292 (1989), reprinted in 1989 U.S.C.C.A.N. 86, 88 (“House
Report”). As a result, thrift depositors lost approximately $200 million. In response, Congress took three actions
to stabilize the thrift industry. First, in 1932, Congress created the Federal Home Loan Bank Board (“Bank
Board”) to channel funds to thrifts to finance home mortgages and to prevent foreclosures. See Pub. L. No.
72-304, ch. 522, 47 Stat. 725 (1932) (codified as amended at 12 U.S.C.A. §§ 1421-1449 (West 1989 & Supp.
1998)). Second, Congress passed the Home Owners' Loan Act of 1933, which authorized the Bank Board to
charter and to regulate federal thrifts. See Pub. L. No. 73-43, ch. 64, 48 Stat. 128, 132-34 (1933) (codified as
amended at 12 U.S.C. §§ 1461-1468c (1994 & Supp. II 1996)). Finally, in 1934, Congress created the Federal
Savings and Loan Insurance Corporation, “under the direction of” the Bank Board, to insure thrift deposit ac-
counts and to regulate all federally insured thrifts to ensure that their capital is unimpaired and that their finan-
cial policies and management are “safe.” See Pub. L. No. 73-479, ch. 847, 48 Stat. 1246, 1256-61 (1934)
(codified as amended at 12 U.S.C.A. §§ 1701- 1750g (West. 1989 & Supp. 1998)); 12 U.S.C. § 1726(c) (1988)
(repealed 1989).




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A. The Savings and Loan Crisis of the Early 1980's
*3 The savings and loan crisis of the early 1980's originated from the rising interest rates of the late 1970's and
early 1980's. Many thrifts were locked into long-term, low-yield, fixed-rate mortgages created when interest
rates were low, and thus the high interest rates caused the thrifts to experience large operating losses as they
raised savings account interest rates in an effort to attract funds from depositors. See Winstar, 518 U.S. at 845
(plurality opinion); House Report at 291, reprinted in 1989 U.S.C.C.A.N. at 87. By 1981, thrifts' mortgage port-
folios were yielding ten percent, but the thrifts were paying an average of eleven percent for their funds, and
between 1981 and 1983, 435 thrifts failed. See House Report at 296, reprinted in 1989 U.S.C.C.A.N. at 92. As
the federal insurer of the thrift deposits, FSLIC was responsible for liquidating the failed thrifts, if necessary,
and reimbursing depositors for the insured funds they had lost. FSLIC, however, lacked adequate assets to do so.
In 1985, for example, FSLIC had $4.55 billion in its insurance fund, but the Bank Board estimated that it would
cost $15.8 billion to liquidate all the thrifts deemed insolvent under generally accepted accounting principles
(“GAAP”). See Winstar, 518 U.S. at 847 (plurality opinion).

In response to the crisis, Congress and the executive branch extensively deregulated the thrift industry to enable
thrifts to compete with other financial services providers for funds and to broaden their investment powers. See
id. at 845 (plurality opinion); House Report at 291, reprinted in 1989 U.S.C.C.A.N. at 87. In addition, the Bank
Board lowered the capital requirement for thrifts from five percent to four percent of assets in 1980, and from
four to three percent in 1982. See Winstar, 518 U.S. at 845-46 (plurality opinion). The capital requirement has
been described as “‘the most powerful source of discipline for financial institutions.”’ Id. at 845 (quoting
Breeden, Thumbs on the Scale: The Role that Accounting Practices Played in the Savings and Loan Crisis, 59
Fordham L. Rev. S71, S75 (1991)). To give more leeway to the struggling thrifts, the Bank Board also promul-
gated new “regulatory accounting principles” that often replaced GAAP in determining whether thrifts could
meet the Bank Board's capital requirement. “The reductions in required capital reserves,” the plurality explained
in Winstar, “allowed thrifts to grow explosively without increasing their capital base, at the same time deregula-
tion let them expand into new (and often riskier) fields of investment.” Id. at 846.

Based upon the facts before it, the plurality observed that, “[r]ealizing that FSLIC lacked the funds to liquidate
all of the failing thrifts, the Bank Board chose to avoid the insurance liability by encouraging healthy thrifts and
outside investors to take over ailing institutions in a series of ‘supervisory mergers.”’ Id. at 847. The plurality
explained:
     *4 Such transactions, in which the acquiring parties assumed the obligations of thrifts with liabilities that far
     outstripped their assets, were not intrinsically attractive to healthy institutions; nor did FSLIC have suffi-
     cient cash to promote such acquisitions through direct subsidies alone, although cash contributions from
     FSLIC were often part of a transaction. Instead, the principal inducement for these supervisory mergers was
     an understanding that the acquisitions would be subject to a particular accounting treatment that would help
     the acquiring institutions meet their reserve capital requirements imposed by federal regulations.
Id. at 848 (citations omitted).

According to the plurality in Winstar, the Bank Board and FSLIC FN;B6[FN6]FN;F6 granted acquiring entities
three different types of beneficial accounting treatment, often referred to as “forbearances,” in connection with
supervisory mergers. Id. at 848- 56. First, the Bank Board and FSLIC “let the acquiring institutions count super-
visory goodwill toward their reserve requirements.” Id. at 850 (plurality opinion). Under the “purchase method”
of accounting, “goodwill,” i.e., the amount by which the purchase price of an acquired entity exceeds the fair
value of all identifiable assets, could be counted as an intangible asset. Id. at 848-49 (plurality opinion). The
plurality noted that, in the typical situation, the counting of goodwill as an intangible asset makes sense because




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a rational purchaser in a free market would not purchase a business for more than the fair value of the business's
assets unless there were some “going concern” value that made up the difference. Id. at 849. In the supervisory
mergers, however, this situation was not the case. Instead, “[b]ecause FSLIC had insufficient funds to make up
the difference between a failed thrift's liabilities and assets, the Bank Board had to offer a ‘cash substitute’ to in-
duce a healthy thrift to assume a failed thrift's obligations.” Id. at 849-50 (plurality opinion). According to the
plurality, that “cash substitute” permitted the healthy thrift to count the amount by which the liabilities of a fail-
ing thrift exceeded the fair value of its assets as an intangible asset, and was referred to as “supervisory good-
will.” Id. Counting supervisory goodwill as an intangible asset that could be used to meet capital requirements
was attractive to the acquiring entities because it prevented the negative net worth of the failing thrifts from be-
ing deducted from the acquiring entities' capital, thereby allowing them to avoid insolvency under federal re-
quirements. Id. at 850 (plurality opinion).

Second, thrifts were permitted to take extended periods of time, up to forty years, to “depreciate” or amortize the
value of supervisory goodwill, a questionable asset. The essence of supervisory goodwill was that it created a
paper asset in a supervisory merger that was necessary because the liabilities of the institution being acquired
exceeded the fair value of its assets. When the acquiring entity was permitted to extend the time to write down
that paper asset, it understated for each reporting period the resulting amortization expense and reduction in its
recorded assets and deferred a possible failure to meet capital requirements. See id. at 851 (plurality opinion).

*5 In addition, thrifts were permitted to accelerate the recognition of capital gains to be realized on depreciated
assets, when those benefits in fact arose over longer periods. The “gains” arose from the accretion of discounts
on loans in portfolio. A thrift cannot sell at face value a loan bearing interest at a below-market interest rate. In-
stead, it accepts a discount from face value that would increase the effective rate on that asset to a market rate.
As these loans approach maturity, the discount decreases to zero. The acquiring entity would record the accre-
tion of discount on its income statement as a gain, in the same fashion as it would for a bond in portfolio that it
holds to maturity. The faster the thrift recognized the gains, the more income it could report in the short term.
See id.

The amount of discount in a troubled thrift would generally approximate the amount of goodwill created by the
supervisory merger. Ideally, a thrift should have written down its goodwill at the same rate it recognized gains
from accretions of discount. The combination of the questionable practices of accelerating the rate of gain recog-
nition and deferring the amortization of supervisory goodwill provided a method for unhealthy institutions to at-
tempt to survive by engaging in supervisory mergers. According to the plurality in Winstar, “[t]he difference
between amortization and accretion schedules thus allowed acquiring thrifts to seem more profitable than they in
fact were.” Id. at 853.

Third, the Bank Board and FSLIC generally permitted double-counting of cash contributions by FSLIC to super-
visory mergers. While the acquiring entity was permitted to treat FSLIC's cash contribution as a credit for its
capital requirement, described as a “capital credit,” it was not required to subtract the amount of the contribution
from the amount of supervisory goodwill. Id. Thus, the amount was,in effect, counted twice, once as a tangible
asset -- cash -- and once as an intangible asset -- supervisory goodwill. Id.

B. The Legislative Response: FIRREA
The regulatory measures taken in the 1980's by the Bank Board and FSLIC to prop up the failing thrift industry
actually aggravated its decline by papering over inadequate reserves and encouraging thrifts to engage in risky
loans and investments. See Transohio Savings Bank v. Director, Office of Thrift Supervision, 967 F.2d 598, 602




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(D.C. Cir. 1992); House Report at 298-99, reprinted in 1989 U.S.C.C.A.N. at 94-95. By 1988, FSLIC was in-
solvent by over $50 billion. See House Report at 304, reprinted in 1989 U.S.C.C.A.N. at 100. In response to this
situation, and to restore the strength of the thrift industry and the deposit insurance fund, Congress enacted the
Financial Institutions Reform, Recovery, and Enforcement Act, Pub. L. No. 101-73, 103 Stat. 183 (1989)
(“FIRREA”). See House Report at 291, reprinted in 1989 U.S.C.C.A.N. at 87. FIRREA was adopted, inter alia,
to “promote, through regulatory reform, a safe and stable system of affordable housing finance,” to “improve the
supervision of savings associations by strengthening capital, accounting, and other supervisory standards,” and
to “curtail investments and other activities of savings associations that pose unacceptable risks to the Federal de-
posit insurance funds.” FIRREA, § 101(1)-(3), 103 Stat. at 187 (codified at 12 U.S.C. § 1811 note (1994)).

*6 FIRREA abolished both FSLIC and the Bank Board. FSLIC's thrift deposit insurance function was assumed
by the Federal Deposit Insurance Corporation (“FDIC”), which became the manager of the new “Savings Asso-
ciation Insurance Fund.” See 12 U.S.C. § 1811(a) (1994); H.R. Conf. Rep. No. 101-222 at 393, 394 (1989), re-
printed in 1989 U.S.C.C.A.N. 432, 433 (“House Conference Report”) (FIRREA gives FDIC “the duty of insur-
ing the deposits of savings associations as well as banks.”). In addition, FIRREA created a separate fund under
the management of the FDIC called the FSLIC Resolution Fund. See 12 U.S.C. § 1821a. The FSLIC Resolution
Fund generally assumed all of the “assets and liabilities” of FSLIC as of the day before its abolition. Id. §
1821a(a)(2).

Each of the Bank Board's principal functions was transferred to a different agency upon its dissolution: (1) the
supervision and regulation of the thrift industry was transferred to the Office of Thrift Supervision (“OTS”) in
the Department of the Treasury, see 12 U.S.C. § 1462a(e) (1994); 12 U.S.C. § 1813(q) (1994); House Confer-
ence Report at 404,reprinted in 1989 U.S.C.C.A.N. at 443; House Report at 453, reprinted in 1989 U.S.C.C.A.N.
at 249; (2) the management and regulation of thrift deposit insurance through FSLIC was transferred to the FD-
IC, see 12 U.S.C. § 1811; (3) the oversight and supervision of the twelve regional Federal Home Loan Banks
was transferred to the Federal Housing Finance Board, see 12 U.S.C. § 1422a (1994); 12 U.S.C. § 1422b (1994);
and (4) the liquidation of the assets of failed thrifts was transferred to the Resolution Trust Corporation (“RTC”)
for those thrifts that became insolvent between 1989 and 1995, see 12 U.S.C. § 1441a. See also House Confer-
ence Report, at 408- 09, reprinted in 1989 U.S.C.C.A.N. at 447-48; see generally American Fed'n of Gov't Em-
ployees, Local 3295 v. Federal Labor Relations Auth., 46 F.3d 73, 74 & n.1 (D.C. Cir. 1995); Employment
Status of the Members of the Board of Directors of the Federal Housing Finance Board, 14 Op. O.L.C. 146
(1990) (preliminary print).

FIRREA also required OTS to prescribe at least three capital requirements for thrifts -- a leverage limit requiring
thrifts to maintain core capital of at least three percent of the thrift's total assets; a tangible capital requirement
of at least one- and-a-half percent of the thrift's total assets; and a risk-based capital requirement aligned with
the risk- based capital requirement for national banks. See 12 U.S.C. § 1464(t)(1)-(2), (9) (1994). In addition,
FIRREA gradually phased out over a five-year period the ability of thrifts to include “qualifying supervisory
goodwill” in calculating core capital. Id. § 1464(t)(3)(A). Under FIRREA, OTS promulgated regulations equat-
ing capital credits with supervisory goodwill, thereby excluding such credits from satisfying the capital require-
ments. 12 C.F.R. § 567.1(w) (1990). As a result of these new strict requirements, “many institutions immedi-
ately fell out of compliance with regulatory capital requirements, making them subject to seizure by thrift regu-
lators.” Winstar, 518 U.S. at 858 (plurality opinion).

C. United States v. Winstar
*7 The Supreme Court's Winstar decision addressed the consequences of the new capital requirements on three




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different institutions -- Glendale Federal Bank, FSB, Winstar Corporation, and The Statesman Group, Inc. -- that
were parties to supervisory mergers. All three claimed financial losses due to the change in the regulatory struc-
ture caused by FIRREA, and they filed suit against the United States in the Court of Federal Claims on both con-
tractual and constitutional theories. That court granted the plaintiffs' motions for partial summary judgment on
contract liability because it found that the government had breached contractual obligations to permit the
plaintiffs to count supervisory goodwill and capital credits toward their capital requirements. Statesman Sav.
Holding Corp. v. United States, 26 Ct. Cl. 904 (1992) (granting summary judgment on liability to Statesman and
Glendale); Winstar Corp. v. United States, 25 Cl. Ct. 541 (1992) (finding contract breached and entering sum-
mary judgment on liability); Winstar Corp. v. United States, 21 Cl. Ct. 112 (1990) (finding an implied-in-fact
contract but requesting further briefing on other contract issues). After the cases were consolidated, a divided
panel of the Federal Circuit reversed, holding that the parties did not clearly assign the risk of a subsequent
change in the regulatory capital requirements to the government. Winstar Corp. v. United States, 994 F.2d 797,
811-13 (Fed. Cir. 1993). After rebriefing and reargument, the Federal Circuit, sitting en banc, reversed the panel
and affirmed the CFC's rulings on liability, concluding that FIRREA breached the government's prior contractu-
al obligations and that the government therefore was liable in money damages for the breach. Winstar Corp. v.
United States, 64 F.3d 1531 (Fed. Cir. 1995) (en banc).

Writing for a plurality of four, FN;B7[FN7]FN;F7 Justice Souter first described the merger between Glendale
and the First Federal Savings and Loan Association of Broward County, a thrift whose liabilities exceeded the
fair value of its assets by over $700 million. FSLIC entered into a “Supervisory Action Agreement” (“SAA”)
with Glendale. Winstar, 518 U.S. at 861 (plurality opinion). The SAA contained an integration clause that, ac-
cording to the plurality, incorporated by reference the Bank Board's resolution approving the merger, which in
turn referred, inter alia, to a document stipulating that any supervisory goodwill would be treated in accordance
with Bank Board Memorandum R-31b. That memorandum permitted the use of the purchase method of account-
ing and the recognition of supervisory goodwill as an asset subject to amortization. One of the reasons that the
plurality interpreted the integration clause in the SAA to include the Board's resolutions and memoranda was
that it would have been “irrational” for Glendale to enter into an agreement that immediately made it insolvent
unless it obtained a contractual commitment that the policies identified in the resolutions and memoranda would
continue. Id. at 862-63. The plurality agreed with the Federal Circuit's judgment that “‘the government had an
express contractual obligation to permit Glendale to count the supervisory goodwill generated as a result of its
merger with Broward as a capital asset for regulatory capital purposes.”’ Id. at 864 (quoting Winstar Corp. v.
United States, 64 F.3d at 1540). FN;B8[FN8]FN;F8

*8 The Winstar merger resulted from FSLIC actively soliciting bids for the acquisition of Windom Federal Sav-
ings and Loan Association, a failing thrift. Id. (plurality opinion). FSLIC and Winstar Corporation, a group of
private investors formed for the purpose of acquiring Windom, entered into an “Assistance Agreement” (“AA”)
under which FSLIC agreed to contribute $5.6 million in cash to the acquisition. The AA contained an integration
clause that, according to the plurality, also incorporated the Bank Board's approval resolution and a forbearance
letter signed by the Bank Board permitting the amortization of supervisory goodwill over thirty-five years. Id.
Again, the plurality noted that it was apparent that “‘the intention of the parties [was] to be bound by the ac-
counting treatment for goodwill arising in the merger.”’ Id. at 866 (quoting Winstar Corp. v. United States, 64
F.3d at 1544).

When Statesman asked FSLIC for government assistance in purchasing a subsidiary of an insolvent thrift,
FSLIC responded that it could only obtain such assistance if it purchased the parent thrift as well as three other
unstable thrifts. Statesman and FSLIC entered into an AA under which FSLIC contributed $60 million to the ac-




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quisition, $26 million of which could be treated as a permanent capital credit for purposes of the regulatory cap-
ital requirement. Like the transactions with Glendale and Winstar, the plurality found that the AA contained an
integration clause incorporating contemporaneous resolutions and letters issued by the Bank Board approving
the use of supervisory goodwill to be amortized over a long period (this time twenty-five years). Id. at 867. Once
again, the plurality accepted the Federal Circuit's finding that “‘the government was contractually obligated to
recognize the capital credits and the supervisory goodwill generated by the merger . . . .”’ Id. (quoting Winstar
Corp. v. United States, 64 F.3d at 1543).

Justice Souter, writing for the plurality, rejected the government's various common law defenses and held that
the United States was liable for breach of contract. In characterizing the contracts at issue, the plurality emphas-
ized that “[n]othing in the documentation or the circumstances of these transactions purported to bar the Govern-
ment from changing the way in which it regulated the thrift industry.” Id. Rather, Justice Souter explained:
     We read this promise as the law of contracts has always treated promises to provide something beyond the
     promisor's absolute control, that is, as a promise to insure the promisee against loss arising from the prom-
     ised condition's nonoccurrence. Holmes's example is famous: “[i]n the case of a binding promise that it shall
     rain to-morrow, the immediate legal effect of what the promisor does is, that he takes the risk of the event,
     within certain defined limits, as between himself and the promisee.”

Id. at 868-69 (plurality opinion) (quoting Holmes, The Common Law (1881) in 3 The Collected Works of
Justice Holmes 268 (S. Novick ed. 1995)). In other words, “the Bank Board and FSLIC . . . assumed the risk
[that the law would] change,” id. at 908 (plurality opinion), see id. at 883 (plurality opinion), and agreed to pay
plaintiffs for the losses, if any, caused by such a change, see id. at 887 (plurality opinion) (“[T]he Government
agreed . . . to indemnify its contracting partners against financial losses arising from regulatory change.”). See
also id. at 890 (plurality opinion). The plurality found that, “[w]hen the law as to capital requirements changed .
. . the Government was unable to perform its promise and, therefore, became liable for breach.” Id. at 870.

*9 Justice Scalia, writing for himself and two other Justices, concurred in the judgment. He agreed with the plur-
ality “that the contracts at issue in this case gave rise to an obligation on the part of the Government to afford re-
spondents favorable accounting treatment, and that the contracts were broken by the Government's discontinu-
ation of that favorable treatment, as required by FIRREA.” Id. at 919 (Scalia, J., concurring). He also agreed that
by promising to regulate the plaintiffs in a particular fashion into the future, “the Government had assumed the
risk of a change in its laws.” Id. at 924.

However, Justice Scalia disagreed with the approach used by the plurality to reject the government's
“unmistakability” and “sovereign acts” defenses. According to Justice Scalia, by characterizing the contracts at
issue as merely insurance against the contingency that the regulations might change, rather than as promises not
to change the regulations, the plurality had incorrectly avoided making the determination whether the govern-
ment was entitled to assert these defenses to contractual liability. Id. at 919. Justice Scalia argued that prior pre-
cedent had not made the availability of these defenses dependent upon the nature of the underlying contract, id.,
and he suggested that, in any event, the contracts did appear to constrain the sovereign authority of the govern-
ment insofar as they required the government to pay damages for undertaking a sovereign act. Id. at 919-20.
With respect to this latter point, he added that “[v]irtually every contract operates, not as a guarantee of particu-
lar future conduct, but as an assumption of liability in the event of nonperformance: ‘The duty to keep a contract
at common law means a prediction that you must pay damages if you do not keep it, - - and nothing else.”’ Id. at
919 (quoting Holmes, The Path of the Law (1897), in 3 The Collected Works of Justice Holmes 391, 394 (S.
Novick ed. 1995)). Nevertheless, Justice Scalia concluded that the government's contractual undertaking was




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sufficiently clear to overcome the “unmistakability” and “sovereign acts” defenses. Id. at 919-22, 923-24. He
also concluded that, because the plaintiffs did not seek to enjoin the exercise of sovereign authority, but rather to
receive damages for breach of contract, there was no force to the government's “reserved powers” defense,
which he described as “[s]tand[ing] principally for the proposition that certain core governmental powers cannot
be surrendered.” Id. at 922-23. Finally, Justice Scalia rejected the government's defense that there was no
“express delegation” of authority permitting the restraint of sovereign power. Id. at 923.

Although the plurality and Justice Scalia may have differed in their characterization of the relevance of the
nature of the underlying contracts to the availability of certain governmental defenses, they agreed that the gov-
ernment had assumed the risk of regulatory change. They also were in general agreement on what constituted the
breach of contract: the plurality adopted the Federal Circuit's conclusion that the breach occurred when, pursuant
to the new requirements imposed by FIRREA, the federal regulatory agencies limited the use of supervisory
goodwill and capital credits, id. at 870, and Justice Scalia found that the enactment and implementation of FIR-
REA gave rise to plaintiffs' claims of breach of contract. Id. at 920. Finally, both the plurality and Justice Scalia
found that the Bank Board and FSLIC had sufficient authority to enter into the contracts: “the Bank Board and
FSLIC had ample statutory authority to . . . promise to permit respondents to count supervisory goodwill and
capital credits toward regulatory capital and to pay respondents' damages if that performance became im-
possible.” Id. at 891 (plurality opinion); see also id. at 923 (Scalia, J., concurring) (“[W]hatever is required by
the ‘express delegation’ doctrine is to my mind satisfied by the statutes which the principal opinion identifies as
conferring upon the [Bank Board and FSLIC] authority to enter into agreements of the sort at issue here.”). For
such authority, the Court pointed both to FSLIC's statutory authority to enter into contracts under 12 U.S.C. §
1725(c) (1988) (repealed 1989), and to its authority in certain circumstances to guarantee an acquiring institu-
tion against certain losses in order to facilitate a merger or consolidation with a failed or failing thrift under 12
U.S.C. § 1729(f)(2) (1988) (repealed 1989). Id. at 890 (plurality opinion); id. at 923 (Scalia, J., concurring).

                                                  II. ANALYSIS

*10 We understand that currently pending before the Court of Federal Claims and the Federal Circuit are more
than one hundred cases premised on identical or similar theories of relief as the three cases at issue in Winstar.
We further understand that some of these cases involve AA's or SAA's entered into by FSLIC, and that FSLIC
was involved in some but not all of the remaining cases. We address here only those cases in which FSLIC was
a party to an AA or SAA. See supra p. 2.

There are two potential sources for the payment of judgments (or settlements) against the government in the
cases considered here: the Judgment Fund or the FSLIC Resolution Fund. The “Judgment Fund” is a permanent
and indefinite appropriation established by Congress in 1956 to pay certain final judgments, awards, comprom-
ise settlements, and interest and costs. The Automatic Payment of Judgments Act, ch. 748, § 1302, 70 Stat. 678,
694-95 (1956) (codified as amended at 31 U.S.C. § 1304). The Judgment Fund may be used to pay certain judg-
ments and settlements when payment is “not otherwise provided for.” Id. The question for our purposes is
whether Congress “otherwise provided for” the payment of judgments and settlements in the Winstar-related
cases addressed in this memorandum when it created the FSLIC Resolution Fund in 1989 to assume, with a
single statutory exception that is not applicable here, 12 U.S.C. § 1441a, “all assets and liabilities of the FSLIC
on the day before” FSLIC was abolished, 12 U.S.C. § 1821a(a)(2).

A. Availability of the Judgment Fund
Prior to the creation of the Judgment Fund, many agencies had to seek specific appropriations from Congress to




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pay judgments and settlements because agency operating appropriations are not generally available to make such
payments. As a result of this burdensome process, payments were often unduly delayed, causing excess charges
for post- judgment interest. See Availability of the Judgment Fund for the Payment of Judgments or Settlements
in Suits Brought Against the Commodity Credit Corporation Under the Federal Tort Claims Act, 13 Op. O.L.C.
362, 363 (1989) (“CCC Opinion”). The Judgment Fund addressed this problem by eliminating the need for Con-
gress to pass specific appropriations bills for the payment of judgments and settlements that were not “otherwise
provided for.” 31 U.S.C. § 1304; see CCC Opinion, at 363; 3 GAO Principles at 14-24 to 14-26. This Office has
explained that § 1304 was not “designed to shift liability to the United States Treasury from agencies that had
specific and express statutory authority to pay judgments and settlements out of their own assets and revenues,
but rather to eliminate the need for Congress to pass specific appropriations bills for the payment of judgments.”
CCC Opinion, at 366.

Section 1304 provides in pertinent part:
    (a) Necessary amounts are appropriated to pay final judgments, awards, compromise settlements, and in-
    terest and costs specified in the judgments or otherwise authorized by law when --
    *11 (1) payment is not otherwise provided for;
    (2) payment is certified by the Secretary of the Treasury; and
    (3) the judgment, award, or settlement is payable --
    (A) under sections 2414, 2517, 2672, or 2677 of title 28; . . . . 31 U.S.C. § 1304(a) (1994 & Supp. II 1996).
    Thus a judgment or settlement may be paid out of the Judgment Fund only if three conditions are met: pay-
    ment must not be “otherwise provided for;” the Secretary of the Treasury must certify payment; and the
    judgment must be payable pursuant to one of several specified statutory provisions.

Whether the Judgment Fund is available for payment of judgments and settlements in the Winstar-related cases
addressed in this memorandum depends first upon whether such payment is “otherwise provided for” within the
meaning of § 1304(a), i.e., whether there is another appropriation or fund that lawfully may be used for pay-
ment. FN;B9[FN9]FN;F9 See 62 Comp. Gen. 12, 14 (1982); see also 3 GAO Principles at 14-25 (to determine
whether Judgment Fund is available to pay a type of judgment that did not exist prior to the Fund's establish-
ment, usually examine whether Congress has established a mechanism that is available for payment). Whether a
payment is “otherwise provided for” is a question of legal availability rather than actual funding status. See
Memorandum for Donald B. Ayer, Deputy Attorney General, from J. Michael Luttig, Principal Deputy Assistant
Attorney General, Office of Legal Counsel, Re: Department of Energy Request to use the Judgment Fund for
Settlement of Fernald Litigation at 7 (Dec. 18, 1989) (“DoE Opinion”) (citing 66 Comp. Gen. 157, 160 (1986));
accord 3 GAO Principles at 14-26. The Judgment Fund does not become available simply because an agency
may have insufficient funds at a particular time to pay a judgment. See id.; DoE Opinion at 7. If the agency
lacks sufficient funds to pay a judgment, but possesses statutory authority to make the payment, its recourse is to
seek funds from Congress. See DoE Opinion at 8; 3 GAO Principles at 14-26. Thus, if another appropriation or
fund is legally available to pay a judgment or settlement, payment is “otherwise provided for” and the Judgment
Fund is not available.

B. Availability of the FSLIC Resolution Fund
The FSLIC Resolution Fund (“FRF”) is another possible source of payment for judgments against, or settle-
ments by, the government, at least in the Winstar-related cases addressed in this memorandum. FIRREA simul-
taneously abolished FSLIC as of the date of enactment, August 9, 1989, and, except as provided in 12 U.S.C. §
1441a, transferred “all assets and liabilities of the [FSLIC] on the day before August 9, 1989” to the FRF, a sep-
arate fund to be managed by the FDIC. FN;B10[FN10]FN;F10 12 U.S.C. § 1821a(a)(2) (1994); see FIRREA §




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401(a)(1) (codified at 12 U.S.C. § 1437 note (1994)). The FRF may not be commingled with any other FDIC
funds or assets. Id. It was initially funded by FSLIC's transferred assets, income earned on those assets, certain
liquidating dividends and payments on claims from receiverships, and borrowed funds. Id. § 1821a(b) (1994).
From 1989 to 1992, the FRF was supplemented by certain assessments against members of the Savings Associ-
ation Insurance Fund. Id. If these sources of funds “are insufficient to satisfy the liabilities of the FSLIC Resolu-
tion Fund, the Secretary of the Treasury shall pay to the Fund such amounts as may be necessary, as determined
by the [FDIC] and the Secretary, for FSLIC Resolution Fund purposes.” Id. § 1821a(c)(1) (1994). In addition,
“[t]here are authorized to be appropriated to the Secretary of the Treasury, without fiscal year limitation, such
sums as may be necessary to carry out [§ 1821a].” Id. § 1821a(c)(2) (1994). Because this language merely au-
thorizes an appropriation, there would have to be an appropriation from which the Secretary of the Treasury
could replenish the FRF. See 1 GAO Principles at 2-34 (“‘The mere authorization of an appropriation does not
authorize expenditures on the faith thereof . . . .”’ (quoting 16 Comp. Gen. 1007, 1008 (1937)).

*12 The question that we must answer in determining whether the FRF is available to pay judgments or settle-
ments in the Winstar-related cases in which FSLIC was a party to an AA or SAA is one of congressional intent.
We must decide whether Congress intended for the phrase “all assets and liabilities of the [FSLIC] on the day
before August 9, 1989,” which FIRREA transferred to the FRF, 12 U.S.C. § 1821a(a)(2), to encompass the kind
of liability that would give rise to settlements by, or judgments against, the United States in Winstar-related
cases of this type. If Congress did so intend, then the FRF is available to pay the judgments or settlements that
arise out of such cases. FN;B11[FN11]FN;F11 If not, then the FRF is not available to pay such judgments or set-
tlements and, absent the existence of some other fund from which payment could be made, the Judgment Fund
would be the appropriate source of payment.

We conclude that, in light of the relevant statutory text and legislative history, Congress intended the phrase
“liabilities of the [FSLIC] on the day before August 9, 1989,” 12 U.S.C. § 1821a(a)(2), to encompass the contin-
gent liability that arose from the contractual obligations that, under the theory of liability set forth in Winstar,
FSLIC had assumed prior to FIRREA's passage and that may, as a consequence of FIRREA's enactment and im-
plementation, become definite liabilities resulting in judgments against, or settlements by, the United States. Our
conclusion is based on three related determinations: (1) liability arising from AA's or SAA's to which FSLIC
was a party constitute “liabilities of the [FSLIC],” id. (emphasis added), to the extent that the statutory term
“liabilities” encompasses contingent liabilities; (2) the statutory phrase “ liabilities of the [FSLIC],” id.
(emphasis added), does encompass contingent liabilities arising from FSLIC contracts that may have created ob-
ligations leading to the payment of judgments or settlements by the United States in the class of Winstar-related
litigation considered herein; and (3) the language “on the day before August 9, 1989,” does not reflect Con-
gress's intention to exclude contingent liabilities arising from such FSLIC agreements, even though it is the en-
actment of FIRREA, an event that took place after the “day before August 9, 1989,” that might give rise to any
such judgments or settlements. We therefore conclude that the FRF is the appropriate source of payment for
such settlements or judgments. We note that our construction of § 1821a(a)(2) is consistent with the Tenth Cir-
cuit's decision in Security Federal, 25 F.3d 1493 (10th Cir. 1994). FN;B12[FN12]FN;F12

                                                         1.

It is our view that liabilities resulting from AA's or SAA's to which FSLIC was a party qualify as “liabilities of
the [FSLIC],” 12 U.S.C. § 1821a(a)(2) (emphasis added), to the extent that the term “liabilities” encompasses
contingent liabilities. As we have explained, the Supreme Court's decision in Winstar held the government liable
insofar as the enactment and implementation of FIRREA resulted in the breach of AA's and SAA's that had been




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entered into with various plaintiffs. The Court concluded that these contracts provided for the assumption of the
risk of regulatory change and constituted promises to pay plaintiffs damages in case of breach. Under the theory
of liability recognized in Winstar, a demonstration that the governmental party to the AA's or SAA's had the
statutory authority to enter into them is critical to any claim that may be brought to enforce them. Winstar, 518
U.S. at 890-91 (plurality opinion); id. at 923 (Scalia, J., concurring). The Supreme Court recognized in Winstar
that FSLIC had such authority to enter into agreements that provided for the assumption of the risk of regulatory
change. See id. at 890 (plurality opinion); see also id. at 923 (Scalia, J., concurring). Accordingly, to the extent
that the governmental liabilities arising out of these agreements in the Winstar-related cases constitute
“liabilities” within the meaning of § 1821a(a)(2), it is fair to treat them as liabilities “of the [FSLIC,]” as any
governmental obligation to pay, or settlement premised on such an obligation, would arise from contracts
entered into by FSLIC.

*13 Moreover, we do not believe that, for purposes of determining the statutory source of payment, such liabilit-
ies could be attributed to the Bank Board. In contrast to FSLIC, which exercised its contracting power in forging
the underlying agreements, it is our understanding that, in the cases considered in this memorandum, the Bank
Board was “acting through” FSLIC's authority to contract, Winstar, 518 U.S. at 890 (plurality opinion), and was
not exercising authority in connection with the agreements that are the subject of this memorandum other than in
its capacity as the “operating head” of FSLIC. House Report at 424, reprinted in 1989 U.S.C.C.A.N. at 220; see
12 U.S.C. § 1725(a) (1988) (repealed 1989) (establishing FSLIC “under the direction of” the Bank Board). Ac-
cordingly, for purposes of construing the statutory provision that established the FRF, any liabilities resulting
from the agreements would be “liabilities” of FSLIC, rather than of the Bank Board. FN;B13[FN13]FN;F13

We also believe that, in light of the quasi- corporate nature of FSLIC, Congress would have intended to treat
these liabilities as “liabilities of the [FSLIC.]” This conclusion is supported by the fact that Congress does not
ordinarily intend for the Judgment Fund to serve as the source of payment for liabilities that result from the
breach of contractual obligations of governmental entities such as FSLIC. Instead, Congress ordinarily expects
that such liabilities will be paid out of the separate funds of such governmental entities. Accordingly, it seems
entirely logical to conclude that Congress intended for the FRF to serve as the source of payment for all those li-
abilities that Congress, had it not abolished FSLIC, would have expected FSLIC to have paid out of its own
funds. The FRF, after all, is the fund that Congress established in order to succeed generally to all of the assets
and liabilities of FSLIC.

Our determination that FSLIC is the type of governmental entity that Congress ordinarily would expect to use its
own funds to pay for liabilities resulting from the breach of its contractual obligations stems from both its stat-
utory designation as a “government corporation” and an examination of the functions that it performs. For ex-
ample, the General Accounting Office (“GAO”) has generally found that judgments against a government cor-
poration, such as FSLIC, see 31 U.S.C. § 9101(3)(E) (1988) (repealed 1989) (listing FSLIC as a wholly-owned
government corporation), should be paid from the corporation's own funds:
    The theory is that a government corporation is set up to operate in a business- like manner. It is usually giv-
    en considerable latitude in determining its expenditures; it is free of many of the restrictions on appropriated
    funds that apply to noncorporate agencies; and its statutory charter typically contains a ‘sue and be sued’
    clause. Of particular relevance . . . a corporation may generally retain funds it receives in the course of its
    operations and is not required to deposit them in the Treasury as miscellaneous receipts. Also, unlike a regu-
    lar government agency, a government corporation may procure liability insurance. This being the case, it is
    logical that losses incurred by a government corporation, whether by judgment or otherwise, should be
    treated as liabilities of the corporation and charged to corporate funds.




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*14 3 GAO Principles at 14-36.

This Office has not expressly considered or adopted GAO's reasoning regarding the appropriate source for pay-
ment of judgments against a government corporation. Our approach has been to focus on case- specific determ-
inations of congressional intent. In Availability of the Judgment Fund for the Payment of Judgments or Settle-
ments in Suits Brought Against the Commodity Credit Corporation Under the Federal Tort Claims Act, 13 Op.
O.L.C. 362 (1989), for example, we analyzed whether the Judgment Fund was available to pay settlements for
suits brought against the Commodity Credit Corporation (“CCC”) under the Federal Tort Claims Act (“FTCA”),
by searching for indications that Congress intended for the CCC to discharge its own debts, including judgments
against it, from its own funds. Id. at 367. As evidence of such intent, we noted that: (1) for the first fifteen years
of its existence, the CCC operated largely in a private manner; (2) like similar government corporations, the
CCC was exposed to legal liability through a sue-and-be-sued clause; and (3) the CCC was authorized to
“‘determine the character of and the necessity for its obligations and expenditures and the manner in which they
shall be incurred, allowed, and paid”’ and to “‘make final and conclusive settlement and adjustment of any
claims by or against the Corporation.”’ Id. (quoting 15 U.S.C. § 714b(j), (k)). We found that “[s]ince the CCC
thus has the authority to apply its own funds to the payment of ‘any’ of its judgment claims, it follows that the
CCC's obligations arising from FTCA may be paid from corporate funds. Accordingly, payment of such FTCA
judgments against the CCC is ‘otherwise provided for’ within the meaning of 31 U.S.C. § 1304(a)(1), and the
Judgment Fund is not available for that purpose.” Id.

The common thread running through our and the GAO's analysis is that, in determining whether Congress inten-
ded for an entity to pay judgments from its own funds, relevant considerations include whether: Congress has
designated the entity as a government corporation; the government corporation operates in a private, or
“business-like,” manner, as evidenced by, for example, its latitude to determine its expenditures, its exemption
from the normal restrictions on appropriated funds, or the type of program it runs; the government corporation is
exposed to legal liability through a sue-and-be-sued clause; and the government corporation has a revolving
fund through which it may retain funds received in the course of its income-generating operations and spend
those funds on day-to-day expenses.

We believe that the relevant circumstances indicate that Congress intended for FSLIC to pay judgments against
it from its own funds. Congress expressly designated FSLIC as a government corporation. See 31 U.S.C. §
9101(3)(E) (1988) (repealed 1989). In addition, while FSLIC in part performed an inherently governmental
function in its role as a regulator of the thrifts, the deposit insurance function it performed was one that could
have been performed by the private sector. FSLIC had considerable latitude to determine its necessary expendit-
ures and could operate without considering the usual statutory provisions regarding the use of appropriated
funds. See 12 U.S.C. § 1725(c)(5) (1988) (repealed 1989) (requiring FSLIC to “determine its necessary ex-
penditures . . . and the manner in which the same shall be incurred, allowed, and paid, without regard to the pro-
visions of any other law governing the expenditure of public funds.”). FSLIC also operated like a private busi-
ness in that its real property was subject to state or local taxes. See id. § 1725(e). And FSLIC could sue and be
sued. See FDIC v. Meyer, 510 U.S. 471, 475 (1994) (citing 12 U.S.C. § 1725(c)(4) (1988)). Finally, FSLIC's in-
surance fund operated as a revolving fund -- paying for both its current operating expenses and defaults on de-
positors' accounts out of premiums levied on the institutions it insured, without having to deposit its funds in the
Treasury as miscellaneous receipts. See 12 U.S.C. § 1727(b) & (c) (1988) (repealed 1989) (providing for pay-
ment of premiums to FSLIC by insured institutions); id. § 1725(d) (1988) (repealed 1989) (“Moneys of [FSLIC]
not required for current operations shall be deposited in the Treasury of the United States, or upon the approval
of the Secretary of the Treasury, in any Federal Reserve bank, or shall be invested in obligations of, or guaran-




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teed as to principal and interest by, the United States.”); id. § 1728 (1988) (repealed 1989) (providing for pay-
ment of insurance by FSLIC). Thus, it appears that Congress would have expected the liabilities of FSLIC that
resulted from breaches of contracts into which FSLIC had entered to have been paid from FSLIC's insurance
fund, and that Congress would have expected the liabilities at issue here to have been paid from that fund if they
had become definite prior to FSLIC's abolition.

                                                           2.

*15 There remains, then, the question whether the statutory term “liabilities” should be construed to encompass
not only definite liabilities, such as a final judgment entered prior to FSLIC's abolition as the consequence of an
AA or SAA entered into by FSLIC, but also such contingent liabilities as a contractual obligation that FSLIC
had assumed in an AA or SAA but that had not been breached prior to the time FIRREA abolished FSLIC. FIR-
REA does not define the term “liabilities” in the phrase “liabilities of the [FSLIC],” 12 U.S.C. § 1821a(a)(2), but
it is well-established that “the starting point for interpreting a statute is the language of the statute itself. Absent
a clearly expressed legislative intention to the contrary, that language must ordinarily be regarded as conclus-
ive.” Consumer Prod. Safety Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 108 (1980). In accord with this inter-
pretive principle, the Supreme Court has explained that when a word or phrase in a statute has not been defined
by Congress, it should ordinarily be construed in accordance with “its ordinary or natural meaning.” FDIC v.
Meyer, 510 U.S. 471, 476 (1994) (relying on Black's Law Dictionary for the ordinary meaning of a term).

In ordinary usage, the term “liability” is “a broad legal term [that] has been referred to as of the most compre-
hensive significance, including almost every character of . . . responsibility, absolute, contingent, or likely.”
Black's Law Dictionary 914(6th ed. 1990); see id. (liability “has been defined to mean: all character of debts and
obligations . . . an obligation which may or may not ripen into a debt; any kind of debt or liability, either abso-
lute or contingent, express or implied; condition of being actually or potentially subject to an obligation; condi-
tion of being responsible for a possible or actual loss, penalty, evil, expense, or burden; . . . every kind of legal
obligation, responsibility or duty . . . present, current, future, fixed or contingent debts . . . .”) (citations omit-
ted); cf. Webster's Third New International Dictionary 1302 (1986) (defining “liability” as “the quality or state
of being liable” and defining “liable” as “bound or obligated according to law or equity: responsible, answer-
able”); Montauk Oil Transp. Corp. v. Tug “El Zorro Grande”, 54 F.3d 111, 114 (2d Cir. 1995) (quoting Black's
Law Dictionary as support for reading the term “liabilities” in a statute broadly to encompass civil penalties
already imposed). Thus, the ordinary meaning of the term “liabilit[y]” strongly supports the conclusion that
Congress intended the phrase “liabilities of the [FSLIC]” in § 1821a(a)(2) to include any contingent liability
arising from promises made by FSLIC to insure against the risk of regulatory change, even though that liability
had not become definite by the time of FSLIC's abolition.

Of course, we do not mean to suggest that the term “liabilities” is invariably best construed, regardless of con-
text, to include contingent liabilities arising from agreements that have provided for the assumption of the risk of
events that have not yet occurred. Here, however, the overall statutory context counsels in favor of giving the
term “liabilities” its ordinary, expansive meaning. When FIRREA abolished FSLIC, it designated where the
functions and the assets and liabilities of FSLIC would be transferred. See supra, p. 7; see also House Report, at
438, reprinted in 1989 U.S.C.C.A.N. at 234 (explaining that the FRF “will assume all the assets and liabilities of
the FSLIC except for those expressly transferred or assumed by the Resolution Trust Corporation”). Congress
established the FRF to wind up all of FSLIC's affairs, see 12 U.S.C. § 1821a(f) (providing for dissolution of
FRF “upon satisfaction of all debts and liabilities and sale of all assets”), and was careful not to extinguish exist-
ing obligations attributable to FSLIC's actions. See FIRREA, § 401(f) (codified at 12 U.S.C. § 1437 note (1994))




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(“savings provision” explaining that the abolition of FSLIC “shall not affect the validity of any right, duty, or
obligation of” FSLIC and providing for the continuation of all suits commenced against FSLIC). But nowhere in
FIRREA did Congress expressly provide that it intended for the FRF to assume only definite, but not contin-
gent,liabilities with respect to FSLIC.

*16 It would be anomalous to conclude that Congress, in creating a detailed statutory framework intended to
wind up the affairs of FSLIC, simply left unanswered the question where the contingent liabilities arising from
FSLIC agreements that had not yet been breached should be transferred. This anomaly does not arise, however,
if “liabilities” is construed consistent with its ordinary, broad meaning. For under such a construction, it is clear
that Congress intended the FRF, which (with the sole exception of 12 U.S.C. § 1441a) Congress identified as the
fund to which “all” of the FSLIC “liabilities” would be transferred, to be the source of payment for the subset of
liabilities that were contingent prior to FSLIC's abolition.

Moreover, we have found no affirmative evidence in our review of the relevant legislative materials that Con-
gress intended to exclude contingent liabilities from the “liabilities” that it plainly intended to transfer to the
FRF. All of these materials are consistent with construing “liabilities” in a manner that would include the contin-
gent liability attributable to the FSLIC agreements, and none provides a clear, contrary indication of congres-
sional intent. In light of the expansive, ordinary meaning of the term “liability,” as well as the particular stat-
utory context at issue here, the term “liabilities” in § 1821a(a)(2) should be construed to include the type of con-
tingent liability that arose from AA's and SAA's that FSLIC entered into prior to its abolition. See John Hancock
Mut. Life Ins. Co. v. Harris Trust & Sav. Bank, 510 U.S. 86, 94-95 (1993) (in interpreting the meaning of a stat-
utory provision, “we examine first the language of the governing statute, guided not by a single sentence or
member of a sentence, but looking to the provisions of the whole law, and to its object and policy”) (quotations
and citations omitted).

Certainly the statutory provision that addresses payments from the FRF arising from “legal proceedings,” 12
U.S.C. § 1821a(d), does not manifest an intention on the part of Congress to exclude liabilities that were only
contingent at the time of FSLIC's abolition. Instead, that provision makes clear that Congress fully expected the
FRF to be the source of payment for FSLIC liabilities that would arise from litigation commenced only after
FSLIC had been abolished. Section 1821a(d) provides: “Any judgment resulting from a proceeding to which
[FSLIC] was a party prior to its dissolution or which is initiated against the [FDIC] with respect to [FSLIC] or
with respect to the FSLIC Resolution Fund shall be limited to the assets of the FSLIC Resolution Fund.” 12
U.S.C. § 1821a(d). The plain language of this provision indicates that Congress contemplated that judgments
resulting from cases initiated against the FDIC after the enactment of FIRREA with respect to FSLIC's pre-
FIRREA activities would be paid from the FRF. That is to say, Congress must have intended for the liabilities of
the [FSLIC]” transferred to the FRF to include at least some potential judgments resulting from actions by
FSLIC prior to its abolition, brought against the FDIC as the successor to FSLIC's obligations. 12 U.S.C. §
1821a(a)(2). Yet, in addressing the availability of the FRF to pay such future judgments, Congress did not pur-
port to limit the class of payable “liabilities.” Instead, Congress employed the broad phrase “any judgment,”
which comports with the expansive, ordinary meaning of “liabilities” that we believe Congress intended to adopt
in § 1821a(a)(2).

*17 Nor can it be argued that the particular class of future judgments and settlements at issue here -- judgments
and settlements that may arise from contractual agreements assuming the risk of regulatory change that, by
definition, had not been breached prior to FSLIC's abolition -- were so far beyond the contemplation of Con-
gress at the time that it established the FRF that it would be implausible to construe the term “liabilities” in §




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1821a(a)(2) to encompass them. As Justice Souter explained in Winstar, the effect that the enactment of FIR-
REA might have on the agreements was a subject of “intense concern” in the congressional debate over the le-
gislation. 518 U.S. at 902 (plurality opinion). FN;B14[FN14]FN;F14 For example, “[o]pponents of FIRREA's
new capital requirements complained that ‘[i]n its present form, [FIRREA] would abrogate written agreements
made by the U.S. government to thrifts that acquired failing institutions by changing the rules in the middle of
the game.”’ Id. at 900- 01 (plurality opinion) (quoting 135 Cong. Rec. 12,145 (1989) (statement of Rep. Acker-
man)). More generally, Justice Souter noted that the effect that the legislation might have on existing FSLIC
contracts was “a focal point of the congressional debate,” id. at 900 (plurality opinion), and that “Congress itself
expressed a willingness to bear the costs at issue here when it authorized FSLIC to ‘guarantee [acquiring thrifts]
against loss' that might occur as a result of a supervisory merger.” Id. at 883 (quoting 12 U.S.C. § 1729(f)(2)
(1988) (repealed 1989)). Given the attention in Congress to the question whether FIRREA would abrogate the
agreements to assume the risk of regulatory change, it would appear reasonable to construe “liabilities of the
[FSLIC]” to encompass any liability that might result from the breach of those agreements.

Finally, the relevant legislative history does not demonstrate that Congress intended for “liabilities of the
[FSLIC]” to exclude contingent liabilities. Inaccordance with the natural reading of the term “liabilities” in §
1821a(a)(2), the earlier versions of the provision reported out of both the Senate and House committees spe-
cified that the types of liabilities that the FRF would inherit included “debts, obligations, contracts and other li-
abilities of [FSLIC], matured or unmatured, accrued, absolute, contingent, or otherwise.” S. Rep. No. 101-19, at
107- 08 (Apr. 13, 1989); House Report at 64 (May 16, 1989) (identical language); see also S. Rep. No. 101-19,
at 319 (explaining that “[t]he liabilities transferred include FSLIC's outstanding obligations under assistance
agreements with acquirers of failing thrift institutions”); House Report at 334, reprinted in 1989 U.S.C.C.A.N. at
130 (explaining that the FRF “is the successor to the existing reserves and assets, debts, obligations, contracts
and other liabilities of the FSLIC”). This explanatory language was deleted without any reference in the House
Conference Report, and thus it could be argued that the deletion reflects Congress's intent to have adopted a nar-
rower meaning of “liabilities” in the statute itself. We do not believe, however, that such a reading of the legis-
lative history would be sound. To the contrary, the appearance of this broad description of liabilities in the Sen-
ate and House reports is consistent with the conclusion that Congress intended the term “liabilities” to retain its
ordinary, and quite expansive, meaning, and that Congress simply deleted the explanatory language as unneces-
sary.

*18 In evaluating the effect of the deletion of the explanatory language, we have reviewed the case law that con-
cludes that Congress does not ordinarily “intend sub silentio to enact statutory language that it has earlier dis-
carded in favor of other language.” INS v. Cardoza-Fonseca, 480 U.S. 421, 442-43 (1987); see also Gulf Oil
Corp. v. Copp Paving Co., 419 U.S. 186, 200 (1974) (Congress's deletion of provision “strongly militates
against a judgment that Congress intended a result that it expressly declined to enact”). There are certainly situ-
ations in which the deletion of language that has appeared in an earlier, unenacted version of the legislation may
be read to signal Congress's intention to have enacted a provision with a different meaning. There are also situ-
ations, however, where the deletion of the language that appeared in earlier versions of the bill merely reflects
Congress's intention to have avoided an unnecessary redundancy that would have resulted from the inclusion of
the additional language. See Gemsco, Inc. v. Walling, 324 U.S. 244, 263-65 (1945) (rejecting argument that de-
letion in conference of an illustrative parenthetical phrase from a bill meant that Congress intended to circum-
vent the authority conferred by the bill where parenthetical had been both inserted and deleted without com-
ment); see also ErieR.R. Co. v. Tompkins, 304 U.S. 64, 72-73 & n.5 (1938) (overturning the Court's previous in-
terpretation of § 34 of the Federal Judiciary Act in part because of the “research of a competent scholar, who ex-




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amined the original document”) (citing Charles Warren, New Light on the History of the Federal Judiciary Act
of 1789, 37 Harv. L. Rev. 49, 51-52, 81-88, 108 (1923) (when the drafter of an amendment to § 34 replaced his
original version's phrase “the Statute law of the several States in force for the time being and their unwritten or
common law now in use, whether by adoption from the common law of England, the ancient statutes of the same
or otherwise” with “laws of the several States,” the latter was intended to be a concise summary that encom-
passed the former)).

Here, as we have explained, the ordinary meaning of the undefined term “liabilities” is perfectly consistent with
the expansive descriptions of “liabilities” contained in the House and Senate reports. FN;B15[FN15]FN;F15 In
addition, the other indications of congressional intent that we have identified above do not suggest that Congress
intended to depart from the ordinary meaning of “liabilities” in establishing the FRF. Indeed, they all suggest
that Congress intended to ensure a comprehensive transfer to the FRF of all of the assets and liabilities that had
formerly been FSLIC's. Accordingly, we believe that Congress would have indicated in some way its intention
for the deletion of the explanatory language to exclude the ordinary meaning of the term “liabilities,” rather than
merely to eliminate redundancies, if it had intended that result. Thus, the legislative history concerning the use
of the term “liabilities” in § 1821a(a)(2) is consistent with the conclusion that Congress intended for that term to
retain its ordinary meaning.

                                                         3.

*19 Although we believe that Congress intended the phrase “the liabilities of the [FSLIC]” to encompass contin-
gent liabilities resulting from contracts in which FSLIC assumed the risk of regulatory change, we must still
consider the effect of the remaining portion of the relevant statutory language -- i.e., the portion of the statute
that limits the liabilities of FSLIC to include only those that existed “on the day before August 9, 1989.” It could
be argued that the inclusion of this limiting language reflected Congress's intention to exclude liabilities result-
ing from breaches of contract caused by FIRREA's enactment and implementation, which, of course, occurred
after August 8, 1989. Under that view, the phrase “liabilities of the [FSLIC]” on the day before it was abolished
would encompass, for example, outstanding promissory notes for the cash assistance that FSLIC had promised
to contribute to supervisory mergers. The phrase would not encompass mere contingent liabilities that were at-
tributable to agreements by FSLIC that would not be breached until after August 8, 1989. We do not believe,
however, that this argument has force.

As we have already explained, there is nothing in the term “liabilities” itself that would counsel in favor of con-
struing it to exclude contingent liabilities resulting from FSLIC contracts that had not been breached as of Au-
gust 8, 1989. Indeed, the ordinary meaning of that term points in the opposite direction, and we have found no
evidence that Congress intended the date restriction in § 1821a(a)(2), i.e., the phrase “on the day before August
9, 1989,” to limit the types of “liabilities” of FSLIC transferred to the FRF. We do not believe, for example, that
Congress intended this date restriction to preclude the FRF from serving as the source of payment for judgments
or settlements resulting from breaches of FSLIC agreements that occurred either on the date of FIRREA's enact-
ment, or later, when FIRREA was implemented, and thus after “the day before August 9, 1989.” Instead, we be-
lieve that the inclusion of the date restriction merely resulted from the timing of FSLIC's abolition; technically,
FSLIC was abolished just after midnight on August 8, and thus the transfer to the FRF of FSLIC's liabilities as
of midnight on August 8 makes sense as a matter of timing. Earlier versions of the bill reported out of both the
House and Senate committees had used the phrase “[o]n the date of the dissolution of [FSLIC] in accordance
with section 401 of [FIRREA],” see S. Rep. No. 101-19, at 107 (Apr. 13, 1989); House Report at 64 (May 16,
1989), and there is no indication in the House Conference Report that the substitution of “the day before August




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9, 1989” for “the date of the dissolution of [FSLIC]” was intended to work any substantive change.

                                               III. CONCLUSION

We conclude, therefore, that the transfer of “all assets and liabilities of the [FSLIC] on the day before August 9,
1989” to the FRF included not only the transfer of those liabilities that were definite on the day before FSLIC
was abolished by reason of a judgment, or that arose from a breach of a contractual obligation that occurred on
or before that date, but also those contingent liabilities that resulted from FSLIC's earlier assumption of the risk
of adverse changes in the regulatory structure and that became definite only after FSLIC had been abolished. 12
U.S.C. § 1821a(a)(2). Because the FRF inherited these contingent liabilities from FSLIC, it also inherited the
corresponding duty to pay damages once the regulatory structure changed. Thus, the FRF is legally available to
pay judgments resulting from proceedings seeking to enforce this duty, and any settlements based on the risk of
such judgments. Because payment is “otherwise provided for” within the meaning of the Judgment Fund statute,
the Judgment Fund is not available to pay such judgments and settlements. See 31 U.S.C. § 1304. In sum, we be-
lieve that the FRF is the appropriate source of funds to pay judgments and settlements in Winstar-related cases
in which FSLIC was a party to an Assistance Agreement or Supervisory Action Agreement.

*20 RANDOLPH D. MOSS
Acting Assistant Attorney General
Office of Legal Counsel

FN1 For ease of discussion, we refer to both these cases and the cases decided by the Supreme Court in Winstar
collectively as “Winstar-related cases.”

FN2 Although we provided the Federal Deposit Insurance Corporation the opportunity to provide its views on
this matter, it declined to do so.

FN3 Although the opinions and legal interpretations of the General Accounting Office and the Comptroller Gen-
eral often provide helpful guidance on appropriations matters and related issues, they are not binding upon de-
partments, agencies, or officers of the executive branch. See Bowsher v. Synar, 478 U.S. 714, 727-32 (1986).

FN4 It is our understanding that whether an agreement qualifies as an “Assistance Agreement” or a
“Supervisory Action Agreement” depends only on the labeling of the agreement; the terms were used inter-
changeably, although the term “Assistance Agreement” was more common. Telephone conversation between
Caroline Krass, Attorney- Adviser, Office of Legal Counsel and Aaron Kahn, Principal Litigation Counsel, Of-
fice of the General Counsel, Office of Thrift Supervision, Department of the Treasury (June 30, 1998).

FN5 In March 1996, prior to the Supreme Court's decision in Winstar, this Office opined that the FSLIC Resolu-
tion Fund was the proper source for payment of the judgment in RTC v. FSLIC, 25 F.3d 1493 (10th Cir. 1994)
(“Security Federal”). See Letter for Ricki Helfer, Chairman, FDIC, from Walter Dellinger, Assistant Attorney
General, Office of Legal Counsel, Re: Reimbursement from the Federal Judgment Fund for Payment of Judg-
ment in RTC v. FSLIC, (10th Cir. 1994) (Mar. 18, 1996) (“Helfer Letter”). Our opinion expressly stated,
however, that it was limited to the facts of Security Federal. See id. at 2 (“We have not attempted to determine
and make no suggestion here as to the proper source of payment for any judgment that might be entered in the
other goodwill/capital forbearance cases.”).

FN6 We refer to “the Bank Board and FSLIC” together for ease of discussion in this section of the memor-




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andum, although both entities may not have been involved in all cases.

FN7 Justice Souter was joined by only two other Justices in two subsections of his opinion that discussed the
government's “sovereign acts” defense. 518 U.S. at 896-903.

FN8 The government's petition for a writ of certiorari did not directly contest the existence of contracts between
the government and plaintiffs, and therefore the question was not technically before the Court. See 518 U.S. at
860-61 (plurality opinion); United States v. Winstar Corp., 64 F.3d 1531 (Fed. Cir. 1995) (en banc), petition for
cert. filed, 64 U.S.L.W. 3486 (U.S. Dec. 1, 1995) (No. 95-865) (listing as “questions presented” whether unmis-
takability doctrine, reserved powers doctrine, or sovereign acts doctrine should bar enforcement of alleged con-
tracts). The Federal Circuit and the Court of Federal Claims, however, both found that contracts existed in the
three transactions at issue in Winstar, see Winstar Corp. v. United States, 64 F.3d at 1545, and the plurality
seemed to accept the Federal Circuit's characterization of the contracts.

FN9 Because we conclude that payment for the judgments and settlements at issue fails to meet the “not other-
wise provided for” requirement in § 1304(a), we express no opinion as to whether that provision's other two re-
quirements are met.

FN10 Section 1441a established the RTC and provided for its termination by December 31, 1995. See 12 U.S.C.
§ 1441a(b) (1994); 12 U.S.C. § 1441a(m)(1) (1994). Upon termination, all assets and liabilities of RTC were to
be transferred to the FRF. Id. § 1441a(m)(2). If the RTC's assets exceeded its liabilities, FIRREA obligated the
FRF to transfer any net proceeds from the sale of the assets to the Resolution Funding Corporation. Id.

FN11 In addition to transferring the assets and liabilities of FSLIC to the FRF, it is clear that Congress also in-
tended for judgments or settlements arising from the “liabilities of the [FSLIC]” to be paid out of the FRF. See
12 U.S.C. § 1821a(c) (providing for a “Treasury backup” if the funds in the FRF are insufficient to satisfy its li-
abilities); id. § 1821a(d) (limiting the payment of certain judgments to the assets of the FRF).

FN12 The Tenth Circuit held in that case that the FRF is the appropriate source for payment of a judgment res-
ulting from the breach of contractual obligations incurred by FSLIC where the breach occurred after FSLIC's ab-
olition. Id. In reaching that conclusion, the court of appeals relied on §§ 1821a(a) and 1821a(d) to hold that the
restitution to which the plaintiff investors were entitled should be paid from the FRF rather than the RTC's as-
sets: “Because FIRREA designates the FSLIC Resolution Fund as the successor to FSLIC rights and obligations
and limits recovery to the Fund's assets, the Fund is the proper source of restitution to the Investors.” Id. at
1506; cf. Helfer Letter (concluding that under § 1821a(d), the FRF rather than the Judgment Fund was the prop-
er source for payment of the judgment in Security Federal because FDIC, FSLIC and FRF were all named de-
fendants, the court ordered payment of the judgment from the FRF, and the case involved an AA negotiated and
executed by FSLIC).

FN13 At least for purposes of § 1821a(a)(2), the fact that the “United States” appears as the defendant in the
Winstar-related cases does not make any liabilities resulting from FSLIC agreements liabilities of the United
States as a whole rather than of FSLIC. The styling of the captions in these cases simply reflects the requirement
that all cases brought in the CFC must be brought against the “United States,” see 28 U.S.C. § 1491(a) (1994), a
requirement that obtains without regard to the source from which payments would be made for any liability that
results from such litigation. Although 12 U.S.C. § 1821a(d) defines one class of judgments payable from the
FRF as those “resulting from a proceeding to which [FSLIC] was a party prior to its dissolution or which is initi-
ated against the [FDIC] with respect to [FSLIC] or with respect to the FSLIC Resolution Fund,” we do not be-




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lieve that this provision limits the liabilities transferred to the FRF to those resulting from actions in which
FSLIC or the FDIC was named as a defendant. Instead, it is clear that, in light of the text, structure, and legislat-
ive history of § 1821a(d), Congress did not intend for this provision to limit the class of payable FSLIC liabilit-
ies, but rather to insure that the FDIC would only use FRF funds to pay those FSLIC liabilities that had been
transferred to the FRF. See S. Rep. No. 101-19, at 319 (section 1821a(d) “insulates the FDIC and the other funds
it manages from liabilities of FSLIC that are transferred to the [FRF]”); see also House Report at 335, reprinted
in 1989 U.S.C.C.A.N. at 131 (“Any judgment resulting from . . . any action which is initiated against the FDIC
based upon FSLIC actions is limited to the assets of the FSLIC Resolution Fund.”).

FN14 This section of Justice Souter's plurality opinion and the other portions of the opinion cited in this para-
graph were joined by only two other Justices.

FN15 In reaching its conclusion in Security Federal that the FRF was the appropriate source of payment, the
Tenth Circuit relied on the earlier, more complete, listing of the types of liabilities transferred to the FRF. See
25 F.3d at 1505 (“the FSLIC Resolution Fund . . . ‘is the successor to the existing reserves and assets, debts, ob-
ligations, contracts and other liabilities of the FSLIC”’ (quoting House Report at 334)). The court did not ad-
dress, however, whether the deletion of that additional, descriptive language from the final version of §
1821a(a)(2), which uses only the term “liabilities,” reflected Congress's intention to have adopted a narrower
meaning of “liabilities.”

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                                                               [1] Shipping 354       207

      United States District Court, S. D. New York.            354 Shipping
 Complaint of TUG OCEAN PRINCE, INC. and Red                       354XI Limitation of Owner's Liability
Star Towing & Transportation Company, as Owner and                      354k206 Losses and Injuries Subjects of Limita-
 Charterer of the TUG OCEAN PRINCE, for Exonera-               tion
   tion from or Limitation of Liability, Plaintiffs and                   354k207 k. In general. Most Cited Cases
                  Third-Party Plaintiffs,                           Owner of tug was not entitled to exoneration from
                             v.                                liability resulting from grounding of barge being towed
UNITED STATES of America, Third-Party Defendant.               by tug on theory that accident was caused by Govern-
        UNITED STATES of America, Plaintiff,                   ment's failure to maintain adequate aids to navigation,
                             v.                                where evidence indicated that fact that warning buoy
PITTSTON MARINE TRANSPORT CORPORATION,                         was obscured by ice was merely “but for” factor which,
  Red Star Towing & Transportation Company, Tug                had it been visible, might have corrected navigational
                   Ocean Prince, Inc.,                         errors which were proximate cause of accident, and that
                           and                                 inability to use aid to navigation was not proximate
TUG OCEAN PRINCE and BARGE NEW LONDON,                         cause of accident.
                   in rem, Defendants.
                                                               [2] Shipping 354       208
   Nos. 74 Civ. 3358(GLG) and 75 Civ. 5801(GLG).
                    Sept. 6, 1977.                             354 Shipping
                                                                   354XI Limitation of Owner's Liability
      Oil barge being towed in Hudson River channel                    354k206 Losses and Injuries Subjects of Limita-
collided with submerged rocks causing oil spillage.            tion
Owner of tug sought exoneration or limitation of liabil-                    354k208 k. Privity or knowledge of owner.
ity. Barge owner sought indemnity from tug owner for           Most Cited Cases
fines imposed on it under Federal Water Pollution Con-              In order for vessel owner to limit its liability for
trol Act, and Government sought costs of pollution             damage caused by vessel, duty is upon owner to estab-
cleanup and imposition of civil penalty on barge owner.        lish lack of privity or knowledge. 46 U.S.C.A. § 183.
The District Court, Goettel, J., held that: (1) the inabil-
ity of the tug's pilot to locate a warning buoy did not en-    [3] Shipping 354       208
title the tug owner to exoneration from liability (2) the
                                                               354 Shipping
tug owner was entitled to limitation of liability (3) the
                                                                  354XI Limitation of Owner's Liability
coast guard was not liable under the Suits in Admiralty
                                                                       354k206 Losses and Injuries Subjects of Limita-
Act for negligence in maintaining aids to navigation in
                                                               tion
the area of the grounding (4) the tug owner's liability for
                                                                           354k208 k. Privity or knowledge of owner.
cleanup costs was limited to $100 per gross ton of the
                                                               Most Cited Cases
tug, and (5) the fine imposed on the barge owner would
                                                                    Although failure to perceive navigational hazard
be remanded so as to permit absence of culpability to
                                                               might be indicative of generalized incompetence which
mitigate the amount of the fine.
                                                               creates unseaworthy condition, inadequate response to
    Order in accordance with opinion.                          known danger presents error in navigational judgment
                                                               and, as such, falls outside vessel owner's privity and
                     West Headnotes                            knowledge, for purposes of limitation of liability. 46




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U.S.C.A. § 183.                                                 ability, indicated that collision was caused not by fail-
                                                                ure to make chain of command apparent prior to depar-
[4] Shipping 354       207                                      ture but rather by failure of otherwise competent officer,
                                                                who was not familiar with river being navigated, to seek
354 Shipping
                                                                assistance from more experienced mate, event which
   354XI Limitation of Owner's Liability
                                                                was not unseaworthy condition for which owner could
        354k206 Losses and Injuries Subjects of Limita-
                                                                be held responsible. Inland Rules, art. 29, 33 U.S.C.A. §
tion
                                                                221.
          354k207 k. In general. Most Cited Cases
     Where failure of tug to have lookout is statutory          [8] Shipping 354       11
fault, owner seeking limitation of liability must prove
that violation could not have contributed to casualty in        354 Shipping
any way. Inland Rules, art. 29, 33 U.S.C.A. § 221.                 354I Regulation in General
                                                                         354k11 k. Protection of life and property. Most
[5] Shipping 354       209(3)                                   Cited Cases
                                                                     Merely warning mariners of perilous condition, as
354 Shipping
                                                                rule, will not absolve coast guard of duty to correct dan-
    354XI Limitation of Owner's Liability
                                                                gerous condition, but adequate warnings may absolve
       354k209 Proceedings
                                                                them from particular liability.
            354k209(3) k. Pleading, evidence, and issues.
Most Cited Cases                                                [9] Shipping 354       11
     Evidence, in tug owner's action for limitation of li-
ability, indicated that, even assuming failure of tug pilot     354 Shipping
to maintain separate lookout was statutory fault, such              354I Regulation in General
failure did not contribute to collision. Inland Rules, art.              354k11 k. Protection of life and property. Most
29, 33 U.S.C.A. § 221.                                          Cited Cases
                                                                     Where coast guard had warned river mariners of
[6] Shipping 354       208                                      possibility of ice obstructing warning buoys in particu-
                                                                lar span of Hudson River channel, and where “notice to
354 Shipping
                                                                mariners” for week of accident made particular mention
   354XI Limitation of Owner's Liability
                                                                of problem of ice-covered buoys in same area, absent
        354k206 Losses and Injuries Subjects of Limita-
                                                                showing that coast guard had notice of ice covering par-
tion
                                                                ticular buoy during day in question and could have re-
             354k208 k. Privity or knowledge of owner.
                                                                paired it, coast guard would not be liable in negligence
Most Cited Cases
                                                                under Suits in Admiralty Act as result of grounding of
     Errors in management aboard vessel may not be im-
                                                                oil barge on submerged rocks. Suits in Admiralty Act,
puted to owners so as to deny limitation of liability. In-
                                                                §§ 1–12, 46 U.S.C.A. §§ 741–752.
land Rules, art. 29, 33 U.S.C.A. § 221.
                                                                [10] Negligence 272         1635
[7] Shipping 354       209(3)
                                                                272 Negligence
354 Shipping
                                                                   272XVIII Actions
   354XI Limitation of Owner's Liability
                                                                       272XVIII(C) Evidence
      354k209 Proceedings
                                                                          272XVIII(C)4 Admissibility
         354k209(3) k. Pleading, evidence, and issues.
                                                                             272k1635 k. Similar facts and transactions;
Most Cited Cases
                                                                other accidents. Most Cited Cases
    Evidence, in tug owner's action for limitation of li-




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   (Formerly 272k134(2))                                       270k35 Navigable Waters)
    Evidence of prior similar accident has some tend-              Traditional admiralty concept of limiting third party
ency to establish dangerous or defective condition at          vessel owner's liability with reference to his vessel
place in question.                                             rather than vessel which actually spilled oil is contained
                                                               in Water Quality Improvement Act of 1970. Federal
[11] Negligence 272        1635                                Water Pollution Control Act, § 311(f)(1) as amended 33
                                                               U.S.C.A. § 1321(f)(1).
272 Negligence
    272XVIII Actions                                           [14] Statutes 361      190
       272XVIII(C) Evidence
          272XVIII(C)4 Admissibility                           361 Statutes
              272k1635 k. Similar facts and transactions;         361VI Construction and Operation
other accidents. Most Cited Cases                                    361VI(A) General Rules of Construction
    (Formerly 272k125)                                                   361k187 Meaning of Language
     Because evidence of prior similar accident in negli-                    361k190 k. Existence of ambiguity. Most
gence case draws its relevance from principle that simil-      Cited Cases
ar causes can be expected to produce similar effects, ad-           Where statutory language is clear and unequivocal,
missibility of such evidence hinges upon demonstration         there is no occasion for court to resort to interpretive
that conditions had been substantially similar on all oc-      aids.
casions.
                                                               [15] Environmental Law 149E           214
[12] Shipping 354        11
                                                               149E Environmental Law
354 Shipping                                                       149EV Water Pollution
    354I Regulation in General                                          149Ek214 k. Civil liability; cleanup costs. Most
         354k11 k. Protection of life and property. Most       Cited Cases
Cited Cases                                                          (Formerly 199k25.7(23) Health and Environment,
     Negligence, if any, on part of coast guard, in not es-    270k35 Navigable Waters)
tablishing more effective aids to navigation in area of             Where owner of oil barge which ran aground on
Hudson River channel where black can buoy warning of           submerged rocks causing spillage in Hudson River
submerged rocks became obstructed by ice, was not              channel, and owner of tug which was towing barge at
proximate cause of grounding of oil barge on sub-              time of accident, were not same entity, and where there
merged rocks where pilot of tug that was towing barge          was no vestige of contractual relationship running
had available, for navigational purposes, both radar and       between owners of two vessels and Government,
fixed light tower on shore, but where he nevertheless          “flotilla rule,” would not apply to require calculation of
strayed away from channel looking for obscured buoy.           tug owner's liability for cleanup costs under Water
Suits in Admiralty Act, §§ 1–12, 46 U.S.C.A. §§                Quality Improvement Act of 1970 based upon combined
741–752.                                                       tonnage of tug and barge; tug owner's liability would be
                                                               limited to $100 per gross ton of tug alone. Federal Wa-
[13] Environmental Law 149E            214                     ter Pollution Control Act, § 311(f)(1), (g) as amended
                                                               33 U.S.C.A. § 1321(f)(1), (g).
149E Environmental Law
   149EV Water Pollution                                       [16] Indemnity 208        69
       149Ek214 k. Civil liability; cleanup costs. Most
Cited Cases                                                    208 Indemnity
     (Formerly 199k25.7(23) Health and Environment,               208III Indemnification by Operation of Law




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       208k63 Particular Cases and Issues                      GOETTEL, District Judge.
          208k69 k. Maritime cases. Most Cited Cases                 1. At all material times Tug Ocean Prince, Inc. was,
    (Formerly 208k13.1(2.1), 208k13.1(2))                      and still is, a New York corporation and the owner of
     Even though penalty imposed on vessel owners un-          the Tug OCEAN PRINCE. Red Star Towing & Trans-
der Federal Water Pollution Control Act amendments of          portation Company (hereinafter collectively referred to
1972 as result of discharge of oil or hazardous sub-           with Tug Ocean Prince, Inc. as “Plaintiffs”), was, and
stance is civil in nature, and even though provision           still is, a West Virginia corporation with an office and
holds owner or operator of vessel strictly liable for pen-     principal place of business in New York, and at all ma-
alty regardless of culpability or third-party causation,       terial times was the charterer of the Tug OCEAN
statute does not contemplate right of indemnity for pen-       PRINCE, and *910 manned, victualed, supplied and op-
alty imposed. Federal Water Pollution Control Act, §           erated said Vessel.
311(b)(6) as amended 33 U.S.C.A. § 1321(b)(6).
                                                                    2. The Tug OCEAN PRINCE is a United States
[17] Environmental Law 149E           223                      documented, steel hulled, diesel driven, single screw,
                                                               1,800 horsepower tugboat built in 1958, having an over-
149E Environmental Law                                         all length of 94.7 feet, an extreme breadth of 27.1 feet
    149EV Water Pollution                                      and a deep draft of about 13 to 14 feet. Her registered
           149Ek223 k. Penalties and fines. Most Cited         gross tonnage is 198 tons and her registered net tonnage
Cases                                                          is 134 tons.
     (Formerly 199k25.7(24), 199k25.15(6) Health and
Environment, 270k35 Navigable Waters)                               She was at all material times equipped with direct
     In view of fact that owner of oil barge which, while      pilothouse engine controls, a gyro compass, a magnetic
being towed in Hudson River channel, ran aground and           compass, a Decca radar and a searchlight. Her chart for
spilled oil, had no right to indemnity from tug owner          the area was a 1969 edition. Although a subsequent edi-
with respect to fine imposed on it under Federal Water         tion was available, there were no material differences
Pollution Control Act amendments of 1972, case would           between the charts in the location and characteristics of
be remanded to Coast Guard to permit absence of culp-          the relevant aids. Buoy “21” had been renumbered to
ability to mitigate amount of fine imposed. Federal Wa-        Buoy “25”.
ter Pollution Control Act, § 311(b)(6) as amended 33
U.S.C.A. § 1321(b)(6).                                              3. Red Star had no written procedure for supplying
                                                               its tugs with navigational information or material. The
*909 Healy & Baillie, New York City, for plaintiffs and        ordering of charts was left to the captain without the of-
third-party plaintiffs; John D. Kimball, New York City,        fice having a system to check what charts and other
of counsel.                                                    navigational publications were needed. Red Star had no
                                                               procedure for checking that this material was obtained
McHugh, Heckman, Smith & Leonard, New York City,               by the Captains. On the voyage in question, the OCEAN
for defendant, Pittston Marine Transport Corp.; Maurice        PRINCE was carrying current editions of the Light List
F. Beshlian, New York City, of counsel.                        and Coast Pilot.

Gilbert S. Fleischer, New York City, in charge, for the             4. Red Star Towing & Transportation Company
third-party defendant and plaintiff, United States of          (hereinafter singly referred to as “Red Star”) is engaged
America Admiralty & Shipping Section Dept. of                  in the business of general towage in the coastal and in-
Justice; Janis G. Schulmeisters, New York City, of             land waters of the United States, including New York
counsel.                                                       Harbor and its tributaries.

                                                                   5. Red Star Marine Services, Inc. is a company
                 FINDINGS OF FACT




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which at all material times provided “management ser-          transporting petroleum cargoes by barge in, among oth-
vices” for Red Star, including “operations” such as            er places, New York Harbor and its tributaries. At all
booking of work, scheduling and dispatching of tugs to         material times Pittston owned, operated, manned,
accomplish that work, hiring and firing of personnel,          victualed and supplied the tank barge NEW LONDON,
and overseeing the total operation of the Red Star fleet       of 1,665 gross and net tons and having overall dimen-
which includes the Tug OCEAN PRINCE.                           sions of 295 feet in length and 43 feet in breadth. The
                                                               Barge is equipped with a pushing well or notch at its
     6. Red Star and Red Star Marine Services, Inc. are        stern into which the bow of a pushing tug fits, providing
related companies, and have the same president, Mr.            motive power and steering control.
Robert W. Sanders.
                                                                   14. The United States of America (hereinafter the
     7. Walter Kristiansen at all material times was vice-     “Government”) is a sovereign *911 which, under the
president of operations of Red Star Marine Services,           auspices of the Coast Guard, establishes, maintains and
Inc.                                                           operates an aids to navigation system on the entire
                                                               length of the Hudson River in the State of New York. It
    8. The Red Star companies are also related to the
                                                               does so under statutory authority to serve, inter alia, the
Bushey shipyard at Brooklyn, New York and the vari-
                                                               needs of the commerce of the United States. (14 U.S.C.
ous Bushey companies in the New York Harbor area.
                                                               § 81).
   9. Red Star has offices at 500 Fifth Avenue, New
                                                                   15. On February 2 and 3, 1974, the Tug OCEAN
York, New York, where its tug dispatchers are located.
                                                               PRINCE carried a full crew of six men including two
    10. The dispatchers of another related company, at         United States Coast Guard licensed (for uninspected
all materials times, were located in the same offices,         towing vessels not more than 200 miles off-shore) nav-
and used the same radios and frequencies.                      igators, John Kiernan and Walter Reimer, two deck-
                                                               hands, an engineer and a cook.
   11. Captains, Relief Captains, Mates and other crew
members serving on Red Star tugs are hired by Red Star              16. At all relevant times, Mate Reimer held a valid
Marine Services, Inc. but are paid by Red Star.                license issued by the United States Coast Guard which
                                                               gave him authority to serve as operator of uninspected
     12. Red Star Marine Services, Inc. had internal re-       towing vessels upon the inland waters of the United
quirements for the hiring of navigators, which included        States, including the Hudson River. Reimer had been a
a requirement that Tug Captains and Mates it employed          Tug Captain for five years, and was qualified generally
either have or obtain a Coast Guard license for the oper-      to serve as a Tug Captain, although he had never before
ation of Red Star tugs as a condition to their employ-         navigated the Hudson River. He had served as a deck-
ment, which company policy preceded subsequent                 hand on tankers on the Hudson River briefly some six
Coast Guard licensing requirements. In addition, when          years earlier. He worked for Red Star in the capacity of
one of the navigators was unfamiliar with the area the         Captain, Relief Captain and Mate, principally on board
tug was dispatched to, Red Star's policy was that the          the OCEAN PRINCE, for a period of one and one-half
other navigator have extensive experience in and be fa-        (1 1/2 ) years before the voyage in question.
miliar with the area, and that this man be available to
assist the other navigator whenever necessary or if re-            17. Kiernan was also licensed by the Coast Guard
quested by the man on watch.                                   and had extensive experience as a Tugboat Captain on
                                                               the Hudson River which spanned a period of more than
    13. Pittston Marine Transport Corporation                  30 years. He was employed by an associated company
(hereinafter “Pittston”) is a New York corporation and,        as a Tug Captain, but was temporarily assigned to Red
at all material times, was engaged in the business of          Star to fill a vacancy on the Tug OCEAN PRINCE and




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went on board on February 1, 1974.                            entered on a job order card, which was given to the tug
                                                              dispatcher's office. In response to Pittston's order, the
     18. During the voyage in question, Kiernan and Re-       dispatcher, Philip Keenan, decided to assign the Tug
imer stood alternating six hour watches, with Kiernan         OCEAN PRINCE to do the job, and did so at 1800
standing the 6:00 to 12:00 watches in the morning and         hours on February 2nd. Keenan did not discuss with
evening and Reimer standing the 12:00 to 6:00 watches.        Kiernan or Reimer who was to be Captain and who the
One deckhand was assigned to each watch. The Captain          Mate.
or Mate of the watch did the steering and navigating.
The deckhand performed various chores, such as line                *912 23. Keenan was aware of the make-up of the
handling, general maintenance on board the tug, and, if       pilothouse crew on the OCEAN PRINCE on February
requested by the Captain or Mate, lookout duties, steer-      2nd, and had been told by the day dispatcher, Robert
ing under the Captain's or Mate's supervision, and get-       Fitch, that Kiernan was Captain and Reimer was Mate.
ting coffee, all of which were well known to Red Star's       Keenan was aware of Reimer's lack of experience as a
vice-president of operations.                                 navigator on the Hudson. He decided, however, that the
                                                              OCEAN PRINCE would be suitable for the voyage
     19. Prior to the voyage in question, the Tug             since Kiernan, who had extensive experience as a tug
OCEAN PRINCE had operated in southern waters, in              navigator on the Hudson River, was on board and would
Georgia, Florida, Texas and Louisiana for over a year.        be available to assist Reimer if necessary. He also as-
During December of 1973 and January of 1974, it oper-         sumed Reimer's lack of experience on the Hudson River
ated in and about New York but Reimer was on vaca-            would be discussed between Kiernan and Reimer. The
tion at that time. He rejoined the Tug in New York on         dispatcher's decision to assign the OCEAN PRINCE to
February 2, 1974 at the Bushey shipyard in Brooklyn.          the NEW LONDON job was in accordance with accep-
Kiernan was already on board. Kiernan had never met           ted practice in the tugboat industry of dispatching a tug
Reimer before February 2, 1974, but knew that he was          to an area one of the navigators had not navigated be-
regularly assigned to the OCEAN PRINCE. He was not            fore so long as the other navigator on board has experi-
advised and was unaware of Reimer's lack of familiarity       ence in the area.
with the Hudson River.
                                                                  24. From the Bushey shipyard the OCEAN
    20. While the plaintiffs knew that Reimer lacked fa-      PRINCE, with Kiernan on watch, proceeded to Esso
miliarity with the Hudson when he rejoined the OCEAN          dock in Bayonne, New Jersey, and made up to the
PRINCE on February 2, it was assumed that this lack of        loaded Barge NEW LONDON. Reimer, who was off-
experience would be discussed between Reimer and              watch, nevertheless assisted the deckhands in making
Kiernan when they met on the vessel.                          up the tow, and then went below when the Tug and
                                                              Barge left on the voyage to Kingston, New York.
     21. Red Star's Personnel Department was respons-
ible for designating the Captain of the Vessel. Red Star           25. The NEW LONDON was taken in tow forward
intended Kiernan would be Captain. Kiernan indicated          of the OCEAN PRINCE in push-tow fashion with the
doubt in his own mind that he was Captain, but he took        bow of the Tug snuggly secured in the Barge's stern
certain steps which were appropriately done by the Cap-       notch with steel cables and several parts of synthetic
tain. It is the Captain's duty to know the experience and     lines. The overall length of both Vessels was about 385
qualifications of the Mate.                                   feet, with steering and propulsion being supplied by the
                                                              Tug. Both Vessels had a combined gross tonnage of
    22. On Friday, February 1, 1974, Pittston phoned in
                                                              1,863. The Barge had a draft of about 12 feet. In its
an order to Red Star, advising that it would need a tug
                                                              loaded condition, the Barge had only two feet freeboard
to tow its Barge NEW LONDON to Kingston, New
                                                              and the view ahead from the Tug's pilothouse was unob-
York sometime during the weekend. The order was
                                                              structed.




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     26. John Kiernan was in charge of the navigation         visible to vessels in navigation. It is located east of a
during the first leg of the voyage which commenced at         wide shoal area along the west shore which also is not
1915 hours. At 2330 hours, Mate Walter Reimer came            visible from *913 the surface. The rock obstruction and
to the pilothouse of the Tug and relieved Captain             shoal area west of it projects almost 400 yards into the
Kiernan of the watch. Kiernan remained with Reimer            river from its westerly shore.
for about 15 minutes, and then retired without any dis-
cussion of navigation on the river. The Tug and her                About 600 to 800 yards north of the rock is lighted
Tow were approaching Haverstraw, New York at the              beacon# 27 located on the easterly shore of Con Hook
time. The Tug, with Reimer now in charge of naviga-           Island. The light is 46 feet above the water according to
tion, continued the trip northbound past Peekskill, New       the Light List and is visible to a tug from the town of
York and through Bear Mountain Bridge. At about this          Manitou about 1.3 miles south.
time, Reimer sent his deckhand to the galley to get cof-
                                                                  The River is 800 yards wide off Mystery Point, and
fee, leaving Reimer alone in the wheelhouse.
                                                              narrows to 450 yards off Con Hook Island. The channel
     Reimer did not ask Kiernan to stand the watch with       east of the rock described above, which is located
him, although Kiernan would have if asked. This is cus-       between Mystery Point and Con Hook Island, is about
tomary practice aboard towboats. At all relevant times        500 yards wide. The river depth in this area varies
the tide was ebbing, there was ice in the river, and vis-     between 35 feet and 127 feet.
ibility was two miles with snow flurries. The Tug was
                                                                   29. The rock presents a dangerous hazard and ob-
making good a speed of about 6 knots over the bottom
                                                              struction to navigators in the Hudson River, apparent on
(the Vessels were proceeding against the current). At
                                                              the chart and well known to mariners familiar with the
this time the Tug's radar was operating and in use. A
                                                              waters and to the Coast Guard.
navigation chart for the area was open and in use. Re-
imer was able to see both shorelines of the river to port          30. The obstruction is marked by the “25” lighted
and starboard and was also able to see over the full          buoy, which was established and is maintained and op-
length of the Barge and a safe distance ahead. He was         erated by the Coast Guard for the purpose of marking
using his radar from time to time to confirm his visual       the rocky obstruction near the channel. The buoy also
sightings and to locate aids to navigation and other          marks the westerly extreme of the navigable channel
points of reference ahead. At all times the Tug's radar,      and a bend in the river. The “25” light buoy is replaced
steering system and engine controls were operating            by the Coast Guard annually in December at the com-
properly.                                                     mencement of the ice season by an unlighted, second
                                                              class black can buoy. The can buoy was in use on Feb-
    27. Reimer had not attended any navigation school
                                                              ruary 3, 1974. This change is noted in the Light List.
and never had any formal training in the use of the
radar, but was familiar with its operation.                        31. Reimer knew of the existence of the buoy on
                                                              the chart and the obstruction it designated.
    28. The river north of the Bear Mountain Bridge is
bounded on both sides by mountains. There was ice                 32. As the Tug and her Tow passed abeam Mystery
flowing on the river with heavy accumulations along           Point, Reimer did not locate the “25” can buoy either
parts of the shorelines.                                      visually or on the radar. Because the said buoy marks a
                                                              dangerous obstruction as well as a bend in the channel,
     Dead ahead of the Bear Mountain Bridge, west of
                                                              Reimer reduced engine speed, turned on the Tug's
the navigable channel, approximately one and three-
                                                              powerful spotlight to illuminate the area ahead, and
quarter miles north of the Bridge is an obstruction con-
                                                              continued to search for the buoy visually and by radar.
sisting of a pinnacle rock or rocky area, the apex of
which is 7 feet below the mean low water line and not             33. Shortly afterwards, at about 0130 on February




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3, 1974, the Barge struck the rock on its port bow res-             *914 “It is imprudent for a navigator to rely on
ulting in damage to the Barge's forepeak and # 1 and 2         floating aids to navigation to always maintain their
port side cargo compartments. After impact, Reimer             charted position and to constantly and unerringly dis-
sighted the buoy to the starboard partially visible in the     play their advertised characteristics. The obstacles to
ice near the Vessel's wake. He assumed that the Barge          perfect performance are of such magnitude that com-
and the Tug in making the turn to starboard after the in-      plete reliability is manifestly impossible to achieve.
cident had freed the buoy from the ice.                        Buoys are liable to be carried away, shifted, capsized,
                                                               or sunk as the result of storms, ice conditions, colli-
     34. The buoy was obscured by ice and was not seen         sions, or other accidents.
by Reimer as the Tug and Tow approached it. The ice
flow and ice accumulation along the shorelines includ-             “All buoys should, therefore, be regarded as warn-
ing north of Mystery Point on the easterly shore par-          ings or guides and not as infallible navigation marks;
tially obscured the image of the shoreline both to the         especially those located in exposed positions. Whenever
eye and on radar.                                              possible, a ship should be navigated by bearings or
                                                               angles on fixed objects on shore and by soundings
     35. Immediately after the casualty Kiernan was            rather by reliance on buoys.”
summoned and return to the pilothouse. He saw the
lighted tower of Con Hook Island ahead and the “25”                 41. The Light List also states that the lighted buoy
black can buoy about 50-75 feet off the starboard beam         “25” (Aid, No. 1874) is “replaced by an unlighted can
of the Tug. The Vessels were still on a northerly head-        from Dec. 15 to April 1.” It also shows that the fixed
ing at the time. After turning around, the lights on the       light No. 27 on Con Hook Island is on a black skeleton
Bear Mountain Bridge about 2 miles south of the Tug's          tower, the top of which is 46 feet above water.
position were also visible. Kiernan brought the Tug and
Barge to the Day Line Pier south of the casualty site              42. With respect to the ice on the Hudson, the Coast
where they remained until the NEW LONDON was par-              Pilot states:
tially lightened into another barge later in the day.
                                                                    “The ice season usually starts in early January and
    36. The grounding of the Barge NEW LONDON                  ends in mid-March. Normally shipping is affected most
resulted, in part, from Reimer's lack of knowledge of          seriously in the Hudson River between Tappan Zee and
local landmarks and experience on the Hudson River.            Albany. In addition to the problem of getting through
                                                               the ice, aids to navigation are covered or dragged off
    37. Reimer did not examine the Light List or the           station by moving ice. Buoys are removed from the
Coast Pilot very carefully because he was unfamiliar           Hudson River during the ice season then reset in late
with the warning therein not to rely solely on buoys and       March when the ice clears. However, the river is well
the warning that ice covers the buoys in this area during      marked by lights along the shore.” (p. 235).
the winter.
                                                                    43. The rock obstruction marked by the “25” can
    38. Reimer failed to post a lookout when conditions        buoy is located in an area which is susceptible to ice ac-
were such that same was required.                              cumulation on the ebb tide because an “eddy” is created
                                                               south of Con Hook Island which results in ice build-up.
    39. A navigator who is about to enter strange wa-          On the ebb tide, ice accumulation north of Mystery
ters should familiarize himself with the applicable            Point on the east shore, directly across the channel from
charts, the Light List and the Coast Pilot.                    the rock, also occurs. These conditions are known to the
                                                               Coast Guard and, on occasion, result in the obscuring of
     40. The Light List contains a number of warnings
                                                               the buoy on the west and a distortion of the shoreline on
to the navigator including the following:
                                                               the east.




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44. With respect to Con Hook Island, the Coast Pilot           51. In December, 1963, the Coast Guard Cutter SAUK
makes the following observation:                               went aground at the same location. In this case, it was
                                                               reported to the Coast Guard that the can buoy in ques-
“A rock, with a depth of 7 feet over it and marked by a        tion was under the ice. In investigating the incident, the
lighted buoy, is about 0.3 mile southward of Con Hook.         Coast Guard learned that several other casualties at the
When descending the river, particularly with a fair cur-       same rock preceded the SAUK grounding, although
rent, there is a tendency to set toward the rock; caution      those incidents occurred in the 1920's and 1930's and
is advised.”                                                   the conditions existing therein were not developed.

45. At no time prior to the grounding did Mate Reimer          52. Similarly, in January, 1976, the Barge ROBERT L.
see the flashing light on Con Hook Island, north of the        POLING, while in tow of the Tug JOAN MORAN went
can buoy “25”.                                                 aground on the same rock. Coast Guard records show
                                                               that the buoy was reported to be almost completely sub-
46. The proximate and predominate causes of the
                                                               merged under the ice at the time of the grounding.
grounding were errors in navigation. These errors in
turn were the result of an error in management, whereby        53. During the following winter a major oil spill oc-
a navigator inexperienced with the waters was given no         curred at the same location, but the facts of that incident
assistance from an experienced navigator then on board         were not developed at trial.
in traversing a portion of the river that was dangerous
under the circumstances then existing.                         54. The can buoy is the best practical floating aid for
                                                               the site, available under present technology. A fixed
47. With proper use of radar, Reimer could have gotten         tower on the rock, the base of which would be in 7 feet
a radar range from the Bear Mountain Bridge with reas-         of water, would be damaged or destroyed by ice.
onable accuracy. With a radar range off Bear Mountain
Bridge and a visual bearing on Con Hook Light it would         55. In light of the difficulty in keeping this floating aid
have been possible to construct a danger bearing to keep       to navigation visible during the winter season, there
the Vessel off the rock. However, since the Tug, as            were available other navigational aids which could have
most tugs, was not equipped with a gyro repeater or a          been established on land which would better aid the
pelorus it was difficult to take accurate visual bearings.     mariner in staying in the channel.

48. The obscuring of the buoy by ice contributed to the        56. The Coast Guard has not established any ranges or
grounding in that if the buoy had been visible it would        lights on the eastern shore in the immediate area ap-
have indicated to Reimer he was off course and to the          proaching can buoy “25”.
west of the channel.
                                                               57. The Government publication of Waterborne Com-
49. The casualty involving the NEW LONDON was the              merce of the United States shows the following with re-
third grounding at the same location involving similar         spect to the number of trips passing the Con Hook area:
circumstances during the prior 20 years. One year be-
fore the grounding of the NEW LONDON, on February              Vessels and tug and barge flotillas travelling between
26, 1973, the loaded gasoline Barge GEORGE T.                  Upper Bay, New York Harbor and Waterford, New
TILTON, while being push-towed by the Tug BART                 York
TURECAMO, struck the rock marked by the “25” black
can buoy, causing damage to the *915 Barge and pollu-
tion. Coast Guard records show the buoy was reported
to be under the ice at the time of the grounding.

50. In January, 1969, the Coast Guard Cutter SASSA-
FRASS went aground on the same rock due to a naviga-
tional error with the buoy in plain view.



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                                                             Up Bound                                Down Bound
    1971                                                      70,586                                    73,081
    1972                                                      57,779                                    59,378
    1973                                                      61,741                                    62,468
    1974                                                      55,578                                    55,306
                                                              -------                                    -------
    Total 4 years                                            245,684                                   250,233
                                                                  on the ground that the accident was caused by the Gov-
     Of these, 118,435 were up bound tug and barge flo-           ernment's failure to maintain adequate aids to naviga-
tillas and 166,133 were down bound tug and barge flo-             tion. (They are referred to hereafter simply as
tillas with drafts of 18 feet or less.                            “Plaintiffs”). Alternatively, they seek to have their liab-
                                                                  ility limited to the value of the tug, claiming that the
     58. As a result of the NEW LONDON striking the
                                                                  grounding resulted from a cause outside their privity
rock, oil leaked from the Barge into the river. Notice of
                                                                  and knowledge. Claimant Pittston seeks to recover the
violation was given to Pittston on August 27, 1974;
                                                                  value of all the oil lost from its barge either from the
written response was submitted by Pittston and a hear-
                                                                  plaintiffs or from the Government. The Government
ing was held on September 26th; thereafter a civil pen-
                                                                  seeks the substantial costs of the oil pollution cleanup
alty of $5,000.00 was assessed and notice of Pittston's
                                                                  from the other parties and a civil penalty from Pittston.
right to appeal the penalty was given to Pittston. Pitt-
                                                                  Pittston, in turn, seeks indemnity from the plaintiffs for
ston appealed the assessed penalty. The Commandant of
                                                                  any liability it may have to the Government because of
the Coast Guard denied the appeal.
                                                                  the oil spill.
                        OPINION
                                                                       The trial was bifurcated and issues concerning dam-
     To summarize the major events giving rise to this
                                                                  ages reserved for later consideration. The liability issues
litigation, on February 3, 1973, the barge New London,
                                                                  will be considered separately.
loaded with oil and in the tow of the Tug Ocean Prince,
ran aground on a submerged rock formation in the Hud-              Plaintiffs' Claim for Exoneration or Limitation of Liab-
son River. The buoy, placed by the Coast Guard to mark                                       ility
the obstruction, was apparently obscured by ice. The                   The grounding of the barge New London was
impact caused the New London to leak oil, fouling the             caused by a grave error in navigation by the Mate, Re-
river. The Government undertook the cleanup operation.            imer. Unfamiliar with the locale, deceived by ice build-
This sequence of events raises some difficult questions           up along the shore, he allowed the tow to stray to the
of maritime liability and novel issues of interpretation          west of the channel while he concentrated on attempting
                                               FN1
of the Water Quality Improvement Act of 1970.                     to locate a buoy which had apparently become obscured
                                                                  by drifting ice floes. His concentration on locating the
        FN1. 33 U.S.C.A. § 1151 et seq., (Supp. 1977).
                                                                  buoy was ill advised in light of the fact, clearly set forth
        It is conceded that all claims fall within the ad-
                                                                  in the Coast Pilot, that buoys in this area (the Hudson
        miralty     jurisdiction     of     this    court,
                                                                  River between Tappan Zee and Albany) get covered and
        Fed.R.Civ.Proc. 9(h) and arise under 33
                                                                  moved off station at that time of year by moving ice.
        U.S.C.A. § 1321 (Supp.1977) 46 U.S.C. § 183
                                                                  Even without the warning in the Coast Pilot, a mariner
        et seq. and 46 U.S.C. § 742 (1970).
                                                                  familiar with the river would not have relied on the
   Tug Ocean Prince, Inc., as owner, and Red Star                 buoy at this time of year under the existing conditions.
Towing & Transportation Company, as charterer of the
                                                                        [1] While the plaintiffs contend that the inability to
Tug Ocean Prince, *916 seek exoneration from liability




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locate the buoy was the proximate cause of the ground-         This responsibility, along with certain administrative
ing, it is clear that the errors of navigation were the        chores, is one of the *917 few distinguishing factors
proximate cause. The obscured buoy was merely a “but           between the duties of a Captain and those of a Mate.
for” factor which, had it been visible, might have cor-
rected the navigational errors. It cannot be said, there-           Plaintiffs appreciated this factor in assigning a crew
fore, that inability to use the aid to navigation was the      to the Ocean Prince, but an unfortunate set of circum-
proximate cause of the incident. American Smelting &           stances created unforeseen confusion relating to which
Refining Co. v. S. S. Irish Spruce, 548 F.2d 56 (2d Cir.       of the watchstanders was to assume the position of Cap-
1977). Because the accident was not inevitable, but was        tain. Much of the uncertainty stemmed from the fact
instead due to negligence, plaintiffs are not entitled to      that Reimer, one of the watchstanders on the night in
exoneration from liability. The Grace Girdler, 74 U.S.         question, had been a regular pilothouse watch stander
196, (7 Wall.) 441, 18 L.Ed. 790 (1868); The Jumna,            aboard the Ocean Prince. He had served as both Mate
149 F. 171 (2d Cir. 1906). Whether the plaintiffs are en-      and Captain when the vessel was stationed in the South.
titled to indemnity from the Government under the Suits        After Reimer had left for an extended vacation, the ves-
in Admiralty Act, 46 U.S.C. §§ 741-52, because of its          sel was brought to New York. Reimer had no experi-
failure to provide a more reliable aid to navigation, will     ence in piloting the Hudson.
be considered subsequently.
                                                                   The day before Reimer returned to the Ocean
     Having concluded that plaintiffs are not entitled to      Prince, the Mate then aboard took leave. Needing an ex-
exoneration from liability, we turn to the related ques-       perienced man, plaintiffs called upon an associated
tion of whether plaintiffs are nevertheless entitled to        company to supply a suitable person. It sent John
limit their liability pursuant to the Limitation of Liabil-    Kiernan, a tugboat captain with 30 years experience on
ity Act, 46 U.S.C. § 183 et seq.                               the Hudson River. When Kiernan came aboard on Feb-
                                                               ruary 1, 1974, the preceding Captain was still there, so
     The operation of tug boats differs in several materi-     Kiernan started as Mate. The next day Reimer rejoined
al respects from that of ocean going vessels. Because          the vessel and the Captain left. Kiernan knew that Re-
tugs are kept in operation so steadily and the watch           imer was a full-time employee of plaintiff, regularly as-
standers work such long hours (twelve a day) it is ne-         signed to the vessel, and qualified to act as its Captain.
cessary to have two complete sets of crews, changing           He did not know that Reimer had not been aboard the
every two weeks, as well as alternates for vacation peri-      vessel during the couple of months it had been operat-
ods. The crew ordinarily includes two watchstanders, a         ing on the Hudson or that he had never navigated the
Captain and a Mate, who alternate six hour watches.            Hudson on any vessel.
While on watch they usually not only command and
navigate the tug but also serve as helmsmen “steering”              The vessel commenced the voyage in question
the vessel. Necessarily this limits the amount of instru-      shortly after Reimer came on board and, during the half
ment navigation and plotting of position possible. For         day preceding the grounding, the two had only two brief
this reason such tugs are not usually equipped with gyro       discussions. Kiernan contends that, since he was only a
repeaters or peloruses for taking positions. Navigation        replacement, and it was Reimer's regular vessel, he be-
is done by sight of eye, piloting from known landmarks         lieved Reimer was the Captain. Kiernan, however, oc-
and aids to navigation. Consequently, intimate familiar-       cupied the Captain's cabin, stood the watch traditionally
ity with the waters and hazards is far more important          taken by the Captain and performed certain administrat-
than in ocean navigation. An unfamiliar helmsman re-           ive tasks which were the Captain's responsibility.
quires assistance from an experienced one. It is the re-       (Kiernan maintains that he was forced to assume these
sponsibility of the Captain to see that the inexperienced      tasks after the grounding due to Reimer's extremely up-
navigator (who could be himself) gets such assistance.         set emotional state.) While Kiernan vaguely claims he
                                                               alerted Reimer when the watch changed to the general




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navigational situation ahead, his testimony in this re-          Inc. v. Hicks, 285 U.S. 502, 52 S.Ct. 450, 76 L.Ed. 903
gard was not credible, particularly in light of his pro-         (1932), the Supreme Court, while denying limitation in
fessed lack of knowledge of Reimer's unfamiliarity with          that case, nevertheless distinguished situations in which
the river.                                                       an “emergency must be met by the master alone. In
                                                                 these there is no opportunity of consultation or coopera-
     It remains a mystery why Reimer did not seek as-            tion or of bringing the proposed action of the master to
sistance as navigation became progressively more diffi-          the owner's knowledge. The latter must rely upon the
cult due to the treacherous river conditions. (The issue         master's obeying rules and using reasonable judgment.”
could not be explored because Reimer, who is no longer           Id. at 511-12, 52 S.Ct. at 453. Plaintiffs claim that the
in plaintiffs' employ, was beyond the subpoena power             collision at issue here presented just such an emergency
of the court and did not testify at trial.) His evidence         and contend that it is questionable whether there were
was offered through two lengthy depositions, but in              any preventative measures which could have been taken
neither of these did any of the counsel explore his mo-          to avoid the accident.
tivation in proceeding alone at night up a strong ice-
choked river, while aware that he was not picking up                  Claimants and the Government maintain that Re-
the next aid to navigation along the route. One possible         imer's general unfamiliarity with the Hudson, rather
answer lies in his having sent his deckhand down to the          than a specific error of navigational judgment, was the
galley to make coffee prior to the grounding. (He re-            direct cause of the accident. Following this line of argu-
turned, apparently just about the moment of the ground-          ment, they contend that his inexperience created a con-
ing.) Had the deckhand been available, he could have             dition of unseaworthiness which was within the privity
taken the wheel while a radar range was taken, or been           and knowledge of plaintiffs. While this view finds sup-
sent forward as a lookout, or, as the best course, been          port in a nineteenth century case, The Lady Pike, 88
sent to get Kiernan out of his bunk. Had Kiernan been            U.S. 1, 21 Wall. 1, 22 L.Ed. 499 (1874), modern author-
brought to the wheel house, it is very likely he would           ity has rejected it. In The Temple Bar, 137 F.2d 293
have quickly detected that they were to the west of the          (4th Cir. 1943) the court stated:
channel and that the buoy was obscured by drifting ice.
The question remains whether Reimer's error in judg-                  “(T)he decision (The Lady Pike ) cannot be accep-
ment is attributable to plaintiff. If so, it is a factor with-   ted as authority for the broad proposition that it is negli-
in plaintiff's “privity or knowledge” and a ground for           gent to put a master in charge of a ship, whatever the
denying limitation of liability under the Limitation of          voyage, unless he is familiar with all the local condi-
Liability Act, 46 U.S.C. § 183 et seq.                           tions he may be expected to encounter. If, as in the case
                                                                 at bar, a master, qualified in other respects, is placed in
                    Limitation of Liability                      command, and if he is supplied with charts and publica-
     The claimant and the Government maintain that               tions sufficient to enable a competent man safely to
limitation should be denied because Reimer's inexperi-           navigate the ship, it is not necessary that he should have
ence rendered the vessel unseaworthy. They contend               prior knowledge of local conditions; and lack of it will
that plaintiff's failure to post a lookout violated Title 33     not cause the ship to be unseaworthy.”
U.S.C. § 221. They also claim that plaintiffs had failed
to provide proper charts aboard the tug. These conten-               Id. at 297.
tions will be discussed in order.
                                                                      It is clear that the court did not base its finding of
     *918 [2] The burden is clearly upon plaintiffs, in a        the Master's competence on his familiarity with the as-
proceeding under Title 46 U.S.C. § 183, to establish             signed route. The court required, instead, that the Mas-
their own lack of privity or knowledge in order to limit         ter be qualified in other respects (not specified) and that
their liability. Coryell v. Phipps, 317 U.S. 406, 63 S.Ct.       owner stock the ship with relevant charts and naviga-
291, 87 L.Ed. 363 (1943). In Spencer Kellogg & Sons,             tional publications.




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     [3] Plaintiffs maintain that they have fulfilled these    cation of the indicator might have reduced the possibil-
conditions. Reimer is a licensed tug captain with several      ity of collision, that is not the standard by which we are
years' experience in tugboats. He had available charts         to determine whether Farrell (the owner) is entitled to
and publications which clearly designated the location         limitation. Rather, we must ask whether the procedures
of the submerged rocks. Moreover, he was clearly               and equipment utilized rendered the vessel reasonably
aware of the hazard because he had been searching for          fit under the circumstances. . . . the vessel as equipped
the can buoy for a substantial period prior to the             was reasonably capable of performing the intended mis-
grounding. A failure to perceive the hazard might have         sion if properly operated. The accident resulted from
been indicative of generalized incompetence which              lack of care and failure to exercise proper procedures by
would have created an unseaworthy condition. An inad-          those on the bridge. For this Farrell is liable, but it is
equate response to a known danger presents an error in         also entitled to limit.” (emphasis added; footnote omit-
navigational judgment and, as such, falls outside the          ted.)
owner's privity and knowledge. As stated by a definitive
treatise in the field:                                              Farrell Lines, Inc. v. Jones, 530 F.2d 7 (5th Cir.
                                                               1976) at 12-13. See also United States v. Sandra & Den-
     “The navigation of the vessel is under the absolute       nis Fishing Corp., 372 F.2d 189 (1st Cir. 1967).
control of her master . . . and no case has been found
where a shipowner, individual or corporate, has been                Defendants also contend that there existed a viola-
denied limitation because of a liability arising out of an     tion of Title 33 U.S.C. § 221 which provides in pertin-
error of management or of navigation on a voyage com-          ent part:
mitted by an employee whom the owner was warranted
                                                                    “Nothing in these rules shall exonerate any vessel,
in believing to be competent with knowledge of his du-
                                                               or the owner or master or crew thereof, from the con-
ties.”
                                                               sequences of . . . any neglect to keep a proper lookout . .
    3 Benedict on Admiralty § 42 at 5-25 (6th ed.              . .”
1975).
                                                                   Mate Reimer was alone in the wheelhouse at the
     Defendant also argues that plaintiffs failed to           time of the casualty since he had sent the deckhand,
provide proper charts aboard the tug. Reimer denied this       Hebert, below to make coffee.
assertion in his depositions and claimed that he had re-
                                                                    The parties appear to have assumed, with some sup-
ferred to both a chart of the Hudson which designated
                                                               port from precedent (see Dwyer Oil Transport Co. v.
the location of the rock and the Coastal Pilot and Light
                                                               The Edna M. Matton, 255 F.2d 380 (2d Cir. 1958); The
List. The Coastal Pilot and Light List state that during
                                                               Supply No. 4 (The Dalzellea), 109 F.2d 101 (2d Cir.
the winter, can buoys become submerged in the ice and
                                                               1940) ) that there is no compliance with the statute
cannot be seen. It appears that Reimer was not aware of
                                                               where a tug master simultaneously serves as a lookout.
this condition. But this was due to his own negligence
                                                               It seems somewhat unreasonable to require a small ves-
in *919 not referring to the manual, rather than the own-
                                                               sel running in uncongested waters to maintain both a pi-
er's negligence in not providing it. Since the materials
                                                               lot and a lookout at all times. In fact, one court in a case
were on board, it is clear that the owner's duty was sat-
                                                               involving a tugboat stated that the rule requiring a sep-
isfied. The question is whether the equipment on board
                                                               arate lookout was limited to large vessels. In other in-
was “reasonably fit under the circumstances”:
                                                               stances, a court should weigh “the size of the vessel and
    “Neither the absence of an additional watch officer        the opportunity of the navigator to have a full view of
nor the location of the rudder angle indicator involved        the sea.” Anthony v. International Paper Co., 289 F.2d
negligence or rendered the vessel unseaworthy. Al-             574, 580 (4th Cir. 1961). It is unclear whether the law
though the presence of an additional officer or the relo-      of this Circuit requires a tug to have a lookout at all




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times or only when conditions of navigation require it.        sequently, within the owner's privity and knowledge.
Poling Russell, Inc. v. United States, 196 F.2d 939 (2d        Craig v. Continental Ins. Co., 141 U.S. 638, 12 S.Ct. 97,
Cir. 1952).                                                    35 L.Ed. 886 (1891). But without regard to whether he
                                                               acted in the capacity of Captain or Mate, Reimer was
     [4] Assuming, arguendo, that the law of this Circuit      well aware that he was unprepared to navigate under the
requires the posting of a separate lookout on a tug at all     difficult conditions which were rapidly developing.
times, a violation would then be established and the           Kiernan was quite emphatic that he was willing to
Pennsylvania rule, 86 U.S. 125, 19 Wall. 125, 22 L.Ed.         render assistance to Reimer whether he was Captain or
148 (1874) would come into play with the effect that the       Mate. Therefore, it was Reimer's failure to seek assist-
owner must prove that the violation could not have con-        ance, more than Kiernan's failure to offer it, that caused
tributed to the casualty in any way. See Ira S. Bushey &       the accident. Reimer's failure in this regard is similar to
Sons v. United States, 172 F.2d 447 (2d Cir. 1949). This       the neglect of an otherwise competent officer to consult
is not, however, an unbearable burden. Dwyer Oil               available charts and aids to navigation—an event which
Transport Co. v. The Edna M. Matton, supra at 382; Na-         is not an unseaworthy condition for which the owner is
tional Bulk Carrier v. United States, 183 F.2d 405 (2d         responsible. California and Hawaiian Sugar Co. v.
Cir.), cert. denied, 340 U.S. 865, 71 S.Ct. 89, 95 L.Ed.       Columbia S. S. Co., 391 F.Supp. 894 (E.D.La.1972),
631 (1950).                                                    aff'd, 510 F.2d 542 (5th Cir. 1975). Plaintiffs are, there-
                                                               fore, entitled to limit their liability.
     [5] There was no proof whatever that a lookout for-
ward could have observed the ice stranded buoy. The                 Governmental Responsibility for the Grounding
buoy, according to the evidence, was not visible until              We turn now to the plaintiff's contention that the
freed from the ice by the wake of the passing tug. In-         Government's negligence in maintaining the aids to nav-
deed, as indicated earlier, had the deckhand been in the       igation in the area of the grounding was a factor in the
wheelhouse, he would have been more useful taking the          grounding and, therefore, the Government should be
wheel and freeing Reimer to either take navigational           found liable for negligence under the Suits in Admiralty
fixes or call Kiernan, the experienced pilot. Therefore,       Act, 46 U.S.C. §§ 741-52.
the failure to post a lookout cannot be said to have con-
tributed to the collision.                                          In Indian Towing Co. v. United States, 350 U.S. 61,
                                                               76 S.Ct. 122, 100 L.Ed. 48 (1955), the Supreme Court
     [6] Finally, we have the question concerning the          recognized that liability under the Federal Tort Claims
plaintiffs' responsibility for the alleged confusion as to     Act extended to the Coast Guard's failure to adequately
who was to be the Captain of the vessel. Kiernan testi-        maintain a lighthouse. Contrasting nonfeasance and
fied *920 that had he known he was the Captain, he             misfeasance, the Court held that, while the Coast Guard
would have assured himself that Reimer was familiar            had no obligation to supply lighthouse services, once it
with the river before allowing him to take the wheel un-       exercised its discretion by electing to do so, it must use
der the conditions. Again, errors in management aboard         due care. Consequently, the Coast Guard was under a
the vessel may not be imputed to the owners so as to           duty to maintain the equipment and to warn mariners in
deny limitation. South Carolina Highway Dep't v. Jack-         the event the lighthouse became inoperative.
sonville      Shipyards,     Inc.,1976     A.M.C.     456
(S.D.Ga.1975); see also New York Marine No. 10, (The                Indian Towing was applied to the placement and
C. F. Coughlin), 109 F.2d 564, 565 (2d Cir. 1940); Peti-       maintenance of buoys by this court in Afran Transport
tion of Tracy, 194 F.2d 362, 363 (2d Cir. 1952).               Co. v. United States, 309 F.Supp. 650 (S.D.N.Y.1969),
                                                               aff'd, 435 F.2d 213 (2d Cir. 1970), cert. denied, 404
    [7] It is argued that the failure to make the chain of     U.S. 872, 92 S.Ct. 72, 30 L.Ed.2d 116 (1971). In that
command apparent prior to departure was an error by            case, damages were sought following the grounding of
the managing officers of the corporation and, con-             an oil tanker on a reef caused by a marker buoy having




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drifted out of position. Again, while the decision to          added danger that the light would be broken, thereby
erect a navigational aid lay within the Coast Guard's          extinguishing the expected aid. The plaintiff does not
discretion, having acted, the Coast Guard was required         strenuously challenge this but argues, instead, that the
to act with due care.                                          problems of maintaining the buoy ice free and the
                                                               dangers of the location, warranted the installation of
     [8] Thus Indian Towing imposes a dual responsibil-        different forms of aids to navigation, either constructed
ity upon the Coast Guard, once it has decided to locate        on man-made islands or shore-based range lights.
an aid to navigation in a waterway. First, the Coast
Guard must use due care to see that the aid is properly            In considering the dangers of the location, some
maintained and operated. Secondly, should an aid be-           evidence was admitted concerning accidents at the site
come inoperative the Coast Guard has an additional             during the prior thirty years, as well as two groundings
duty to warn mariners of the absence of the expected           (one of which resulted in a severe ecological disaster)
aid. Merely warning mariners of a perilous condition, as       occurring in the following couple of years.
a rule, will not absolve the Coast Guard of the duty to
correct a dangerous condition, but adequate warnings               [10][11] Courts have generally recognized that
may absolve them from a particular liability. Compare          evidence of a prior similar accident has some tendency
Greer v. United States, 505 F.2d 90 (5th Cir. 1974) with       to establish a dangerous or defective condition at the
De Bardeleben Marine Corp. v. United States, 451 F.2d          place in question. Hayes v. Lane Construction Corp.,
140 (5th Cir. 1971).                                           260 F.2d 279 (2d Cir. 1958) (applying New York law);
                                                               Balchunas v. Palmer, 151 F.2d 842 (2d Cir. 1945)
     [9] In the instant case, the Coast Guard was con-         (applying Conn. law). Such evidence draws its relev-
fronted with submerged rocks at the periphery of the           ance from the principle that similar causes can be ex-
Hudson River channel relatively close to another aid to        pected to produce similar effects, so that admissibility
navigation *921 (Con Hook Light). This area had a              hinges upon a demonstration that the conditions had
good safety record during most of the year while the           been substantially similar on all occasions. Hayes,
lighted aid was in use. At the time of the Ocean Prince        supra; Balchunas, supra; Knight v. Baltimore & Ohio
grounding, the buoy was in position, although obscured         R.R. Co., 8 F.R.D. 261 (S.D.N.Y.1948).
by ice. Applying Indian Towing to these facts, the Coast
Guard had the duty to maintain the buoy or to warn of               Judge Weinstein, in his treatise on evidence, does
any interruption of service. The evidence demonstrates         not distinguish between prior and subsequent accidents,
that the Coast Guard, in the Coast Pilot, warned mar-          but states generally that
iners of the possibility of ice obstructing buoys in this
                                                                    “(e)vidence of other accidents in the same place or
particular span of waterway and, additionally, the
                                                               involving the same machinery or instrumentality is gen-
“Notice to Mariners” for the week of the accident made
                                                               erally admissible, not because it shows that defendant
particular mention of the problem of ice covered buoys
                                                               has a general tendency to be negligent, but because it
in that area. Absent a showing that the Coast Guard had
                                                               tends to prove either (1) the existence of a dangerous or
notice of ice covering this particular buoy during the
                                                               defective condition where this is in issue or (2) that de-
day in question (and could have repaired it), the Court is
                                                               fendant knew or should have known of the dangerous or
not persuaded that the Coast Guard was negligent in its
                                                               defective condition.
servicing of the buoy.
                                                                  “The requisite similarity of accidents depends on
    The Coast Guard had determined (and the evidence
                                                               what the evidence is designed to prove:
supported its conclusion) that during the winter months
a can buoy was the most effective floating aid to navig-            ‘If the proof of other accidents is offered to estab-
ation available. The large, lighted buoy not only was          lish the dangerous condition, logic would require simil-
more vulnerable to flow ice, but was also subject to the




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arity of hazard. But if offered to prove notice of danger,     ineffective that its choice constituted negligence per se,
the requisite is the warning quality of the other accident.    the Coast Guard should not be divested of its executive
Thus evidence of a previous accident at the place, un-         discretion to choose such aids to navigation as will most
known to the owner defendant, would be irrelevant to           effectively and efficiently function within its fixed
prove notice of the danger, but it may be relevant to          budgetary limitations. In so concluding, it must be
prove the dangerous condition of the place. Likewise,          stressed that this evaluation is limited to the history of
evidence that is unnecessary to prove dangerous condi-         the hazard in 1974. The Coast Guard's liability for the
tion may be logically relevant to prove the notice of the      subsequent groundings, and the wisdom of erecting dif-
hazard. Of course as the circumstances of other acci-          ferent types of aids to navigation at this time, are issues
dents are more similar to the one in question, the pro-        not before this Court.
bative value of such evidence for either or both pur-
poses is likely to be greater.’ “ 2 J. Weinstein & M. Ber-          [12] There is a further reason for refusing to find
ger, Weinstein's Evidence § 404(11) at 404-76 (1976),          the Coast Guard liable for this accident. Reimer had
citing, Trautman, ”Logical or Legal Relevancy—A                available for navigational purposes both radar, which
Conflict in Theory,“ 5 Vand.L.Rev. 385, 402 (1952).            could take bearings and ranges on prominent objects
                                                               (such as Bear Mountain Bridge) and the Con Hook
     *922 While the subsequent disasters have emphas-          Light, on which a visual bearing could have been taken.
ized the navigational hazard in this area, we must evalu-      Nevertheless, he strayed west of the channel looking for
ate the reasonableness of the Coast Guard's decisions on       an obscured buoy. The premise that the presence of ad-
the basis of facts available at the time of the grounding.     ditional aids might have assisted in correcting his navig-
Prior thereto, and over a period of thirty or so years,        ational error would be a
despite an extremely heavy volume of traffic, there had
only been two groundings under similar circumstances.              “fortuity (having) nothing to do with proximate
(One of them, to the mortification of the Coast Guard,         cause. Liability must rest on causal relationship
involved the Cutter Sauk in 1963. Another cutter, in           between the negligent aspect of the conduct and the
completely dissimilar circumstances, ran aground in            harm resulting from the conduct.”
1969 causing the reef to be known locally as “Coast
                                                                   American Smelting and Refining Co. v. S.S. Irish
Guard Rock”.)
                                                               Spruce, 548 F.2d 56, 60 (2d Cir. 1977).
    Although, at the time of the accident the location
                                                                    It cannot be said, therefore, that the negligence, if
was not considered to have a high priority among Hud-
                                                               any, of the Government in not establishing more effect-
son River sites needing additional aids to navigation,
                                                               ive aids to navigation was the proximate cause
some consideration was given to the situation by the
Coast Guard's officials. Evidence as to the cost and             of the grounding. The Amount of Plaintiff's Liability
feasibility of aids to navigation other than a buoy at this           Under the Water Quality Improvement Act
location persuades the Court that the Coast Guard used              The Water Quality Improvement Act of 1970, as
due care in its decision to mark the reef in the winter of     amended by the Federal Water Pollution Control
1974 with a black can buoy. The Coast Guard weighed            Amendments of 1972, was passed by Congress in the
the need for some other aid to navigation against the          wake of two disastrous oil spills: the running aground of
costs of various fixed lights, constructions on the pin-       the tanker, Torrey Canyon, off the coast of England in
nacle or its demolition. It also considered the ecological     1967 and the Santa Barbara drilling disaster in 1969.
problems in establishing shore based aids, the priority        The primary purpose of the new legislation was to per-
needs of other, more dangerous, locations and the funds        mit the Government to collect cleanup costs directly
available.                                                     from the polluter. To effect this goal, the Act provided,
                                                               in Section 102(f)(1) of the Water Quality Improvement
    In the absence of showing that a can buoy was so




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Act of 1970, later codified at 33 U.S.C.A. § 1321(f)(1)          provided in Section 102(f)(1), a third party which
(Supp.1977) that:                                                causes an oil spill will be liable instead of the owner or
                                                                 operator of the spilling vessel. This section also con-
     “Except where an owner or operator can prove that           tains a limitation of liability, and further distinguishes
a discharge was caused solely by (A) an act of God, (B)          situations where the third party is the owner or operator
an act of war, (C) negligence on the part of the United          of a vessel from other third party situations. Where the
States Government, or (D) an act or omission of a third          third party is an owner or operator of a vessel “the liab-
party without regard to whether any such act or omis-            ility of such third party . . . shall not exceed $100 per
sion was or was not negligent, or any combination of             gross ton of such vessel or $14,000,000, whichever is
the foregoing clauses, such owner or operator of any             the lesser.” (emphasis added). The section goes on to
vessel from which oil or a hazardous substance is dis-           provide that where the third party causing the spillage is
charged . . . *923 shall . . . be liable to the United States    not an owner or operator of a vessel, its liability “shall
Government for the actual costs incurred . . . in an             not exceed the limitation which would have been ap-
amount not to exceed $100 per gross ton of such vessel           plicable to the owner or operator of the vessel . . . from
or $14,000,000, whichever is lesser, except that where           which the discharge actually occurred.” (emphasis ad-
the United States can show that such discharge was the           ded). Clearly this represents a conscious legislative
result of willful negligence or willful misconduct within        choice to inject traditional admiralty concepts into the
the privity and knowledge of the owner, such owner or            limitation calculation by limiting a third party vessel
operator shall be liable to the United States Government         owner's liability with reference to his vessel rather than
for the full amount of such costs.” (emphasis added).            the vessel which actually spilled the oil. Obviously,
                                                                 once the limitation is calculated with reference to a ves-
    In other words, the owner or operator of a vessel
                                                                 sel other than that which spilled the oil, the correlation
which discharges oil can limit its liability, provided the
                                                                 between vessel gross tonnage and actual cleanup costs
government cannot show willful negligence or miscon-
                                                                 is destroyed.
duct.
                                                                      [14] The legislative history indicates that the
     The legislative history indicates that conflicting
                                                                 drafters, in providing the third party defense, envisioned
policies resulted in both the limitation amount and the
                                                                 a situation where the third party vessel collides with an
willful negligence standard for breaking the limitation.
                                                                 oil-carrying vessel. S.Rep.No. 91-351 at 5, 91st Cong.,
The Senate bill, as introduced, would have imposed li-
                                                                 1st Sess. (1969), 3 E.P.A. Legal Compilation (Water) at
ability only if negligence were shown. The original lim-
                                                                 1329. The available legislative materials provide no
itation amount was the lesser of $450 per gross ton or
                                                                 clue as to whether the drafters ever considered the situ-
$15 million. The $450 amount was based upon the es-
                                                                 ation presented where a substantially smaller vessel
timated cleanup cost of one ton of oil. Later evidence
                                                                 either collides with or, as presented here, negligently
indicated that while this figure reflected an accurate,
                                                                 causes the oil spillage. It is inconceivable that Congress
cleanup estimate, it was improbable that any vessel
                                                                 was unaware that much of the oil moving on inland wa-
would discharge its entire cargo. The $100 figure was
                                                                 terways is carried by barges and that the tugs pushing
thereafter substituted to approximate actual, anticipated
                                                                 them are often owned by third parties. Faced with the
costs. S.Rep.No. 91-351 at 4, 91st Cong., 1st Sess.
                                                                 clear choice to limit a third party's liability with refer-
(1969), 3 E.P.A. Legal Compilation (Water) at 1327.
                                                                 ence to the gross tonnage of a vessel not spilling the oil,
     [13] While the limitation amount appears to reflect         the Court must construe the section in accordance with
actual cleanup costs, this goal is not realized where a          the clear import of its terms, even if the effect would
third party causes the oil spillage. Section 102(g), 33          seem contrary to the general legislative intent. Where
U.S.C.A. § 1321(g) (Supp.1977) controls third party li-          statutory language is clear and unequivocal, there is no
ability and provides that subject to the same defenses           occasion for the Court to resort to interpretive aids.




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United States v. Oregon, 366 U.S. 643, 648, 81 S.Ct.            those adopted by Congress. Arkansas Valley Industries,
1278, 6 L.Ed.2d 575 (1961); Arkansas Valley Indus-              Inc. v. Freeman, supra.
tries, Inc. v. Freeman, 415 F.2d 713, 717 (8th Cir. 1969)
.                                                               The Amount of the Penalty To be Assessed Against Pitt-
                                                                                         ston
      *924 In the face of unequivocal statutory language             The penalty provision added by the Federal Water
and the absence of conflicting legislative history, the         Pollution Control Act Amendments of 1972, codified at
Government nevertheless contends that the “flotilla             33 U.S.C. § 1321(b)(6) (Supp.1977) reads in pertinent
rule” should apply. Application of this rule would result       part:
in the calculation of the limitation amount by reference
to the combined gross tonnage of the tug and the barge.              “Any owner or operator of any vessel . . . from
While no authority has been submitted concerning the            which oil . . . is discharged . . . shall be assessed a civil
application of the rule in the statutory context presented      penalty . . . of not more than $5000 for each offense. No
here, it has been applied in traditional admiralty peti-        penalty shall be assessed unless the owner or operator
tions for exoneration or limitation of liability. The Su-       charged shall have been given notice and opportunity
preme Court in Sacramento Nav. Co. v. Salz, 273 U.S.            for a hearing on such charge. . . . ”
326, 47 S.Ct. 368, 71 L.Ed. 663 (1927) required sur-
                                                                    A civil penalty in the amount of $5,000 was as-
render not only of a barge but also of the steamboat
                                                                sessed against Pittston after a hearing before a Coast
towing the barge in an action by the owners of the
                                                                Guard hearing examiner. Pittston had refused to pay the
barge's cargo. In a later case, Standard Dredging Co. v.
                                                                penalty on the authority of the federal district court
Kristiansen, 67 F.2d 548, 550 (2d Cir. 1933), the
                                                                holding in United States v. LeBeouf Bros. Towing Co.,
Second Circuit interpreted the flotilla rule to permit re-
                                                                377 F.Supp. 558 (E.D.La.1974). The lower court had
cognition of a tug and barge as a single vessel where
                                                                held that the penalty provided by 33 U.S.C.A. §
they are “owned in common and engaged in a common
                                                                1321(b)(6) (Supp.1977) was criminal in nature and
enterprise.” Thus, the rule which emerged, as the Gov-
                                                                could not be imposed except in a criminal proceeding
ernment concedes, is that where there exists a contractu-
                                                                which afforded adequate protections for Fifth and Sixth
al or other obligation running from the petitioner for
                                                                amendment rights. This holding was thereafter reversed
limitation to the claimant and a flotilla of commonly
                                                                on appeal, 537 F.2d 149 (5th Cir. 1976) and a petition
owned vessels was used to fulfill the obligation, the flo-
                                                                for certiorari has been denied, 430 U.S. 987, 97 S.Ct.
tilla is regarded as one vessel for calculating the limita-
                                                                1688, 52 L.Ed.2d 383 (1977). With the exception of this
tion fund.
                                                                single, lower court holding, courts appear to be unanim-
     [15] The Tug Ocean Prince and the barge were not           ous in finding the penalty civil. United States v. General
owned by the same entity nor is there any vestige of a          Motors Corp., 403 F.Supp. 1151 (D.Conn.1975); United
contractual relationship running between the owners of          States v. Eureka Pipeline Co., 401 F.Supp. 934
either of these two vessels and the Government. Con-            (N.D.W.Va.1975); United States v. Independent Bulk
sequently, the flotilla rule, as traditionally stated, would    Transport, Inc., 394 F.Supp. 1319 (S.D.N.Y.1975);
be inapplicable to the facts of this case. The Govern-          United States v. W. B. Enterprises, Inc., 378 F.Supp.
ment, conceding this much, would have this Court break          420 (S.D.N.Y.1974).
new ground, and apply a mutation of the rule to flesh
                                                                     The penalty provision at issue holds the owner or
out the terms of the statute. As the discussion of the lan-
                                                                operator of a vessel strictly liable for the penalty, fol-
guage and history of the statute indicates, the provision
                                                                lowing a hearing at which normal due process safe-
limiting the liability of third party vessel owners to the
                                                                guards are extended. Section 1321(b)(6) provides that
value of their vessel is unambiguous. The Court cannot
                                                                “(i)n determining the amount of the penalty *925 . . .
substitute its notions of proper legislative goals for
                                                                the appropriateness of such penalty to the size of the




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business of the owner or operator charged, the effect on       interpretive standards for implementing the penalty all
the owner or operator's ability to continue in business,       make reference to some element of negligent or know-
and the gravity of the violation, shall be considered . . .    ing conduct prior to the imposition of a substantial pen-
.”                                                             alty. The Government contends that the maximum fine
                                                               should be assessed against Pittston on the sole basis of
     The Coast Guard has stated its interpretation of          the “gravity of the violation,” without any consideration
these standards in “Coast Guard Policy for the Applica-        of the degree of Pittston's culpability. The Government
tion of Civil Penalties Under Section 311(b)(6),               further argues that, while third party causation does not
FWPCA,” which was printed as an appendix to the                provide a defense to imposition of the penalty, it does
lower court decision in United States v. LeBeouf Bros.         provide a basis for indemnity.
Towing Co., supra, at 569-70. While the statute does
not explicitly include the degree of the actor's culpabil-          The only case disclosed by our research where the
ity as a factor in assessing the amount of the fine, the       third party's responsibility is discussed is United States
Coast Guard policy statement emphasizes that “(a) num-         v. General Motors Corp., 403 F.Supp. 1151
ber of considerations may be made in determining the           (D.Conn.1975). In that case, vandals opened the valves
gravity of a violation, such as the degree of culpability      of several of defendant's oil storage tanks causing oil to
associated with the violation, the prior record of the re-     flow into a nearby river. In an extended analysis of the
sponsible party, and the amount of oil discharged. Sub-        history and purpose of the penalty, Judge Clarie found
stantial intentional discharges should result in severe        that while third party causation did not constitute a de-
penalties, as should cases of gross negligence, and so         fense, defendant's lack of culpability would require re-
on. This is not to suggest that other considerations may       duction of the penalty to the nominal sum of one dollar.
                                                               FN3
not combine to determine the gravity of a violation.” Id.
at 569 (emphasis added).
                                                                        FN3. The parties had stipulated that the pro-
     In this context, it is valuable to note that while the             ceedings before Judge Clarie should proceed as
1972 amendments make no reference to culpability as a                   a trial de novo, and therefore the judge indic-
                                      FN2
prerequisite for a substantial fine,       the predecessor              ated that it was appropriate “to consider wheth-
of this penalty did. Section 11(b) of the Water Quality                 er the sanction imposed by the administrative
Improvement Act of 1970, Pub.L.No. 91-224, previ-                       agency conforms to the facts brought out at the
ously codified at 33 U.S.C. § 1161(b)(5), provided for a                trial.” The court found that the Coast Guard's
maximum fine of $10,000 for “knowing” discharges.                       finding that defendants were negligent deviated
The 1966 amendments to the Oil Pollution Act of 1924                    from the facts.
created liability when a discharge resulted from a
“grossly negligent or willful act.” Note, Liability for Oil         Of course, the present case differs from General
Pollution Cleanup and the Water Quality Improvement            Motors in that the purportedly culpable party, The Tug
Act of 1970, 55 Cornell L.Rev. 973 (1970).                     Ocean Prince, is before the Court. There are three pos-
                                                               sible responses to this situation, in that the Court could:
         FN2. The Senate bill provided for assessment          1) obviate the need for indemnity by reducing the fine
         of the penalty where the government could             to a nominal sum; 2) following the Coast Guard's pro-
         show that the owner or operator acted “wilfully       cedure and assess the entire fine against Pittston while
         or negligently.” S.Rep. 92-414, 92nd Cong., 2d        recognizing a right to indemnity; 3) assess the fine
         Sess., reprinted in (1972) U.S.Code &                 against the allegedly culpable party, The Tug Ocean
         Ad.News 3732.                                         Prince. The first course would follow the only authority
                                                               on point. *926 The second alternative requires more
    Thus, while the section does not expressly require         discussion.
culpable behavior, prior legislation and the Coast Guard




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    Section 1321 does provide generally for indemnity           utory language, as applied to the facts of case, that
by stating that:                                                “operator” should be construed to include to a tug oper-
                                                                ating a “dumb” barge. It is uncertain whether this con-
     “The liabilities established by this section shall in      struction of the statute was argued before the Coast
no way affect any rights which (1) the owner or operat-         Guard hearing examiner, but by imposing the fine
or of a vessel . . . may have against any third party           solely upon Pittston, the examiner implicitly rejected
whose acts may in any way have caused or contributed            this view. Similarly, the Government's stance in its ac-
to such discharge. . . . ”                                      tion for cleanup costs in that Tug Ocean Prince is liable,
                                                                if at all, under Section 1321(g) which concerns third
     33 U.S.C.A. § 1321(h) (Supp.1977). The issue then
                                                                party liability. Thus, the Government has adopted a con-
becomes whether the penalty imposed by Section
                                                                trary position and has not taken the required adminis-
1321(b)(6) is a “liability” so as to provide a basis for in-
                                                                trative steps to impose liability on plaintiff.
demnity. The parties draw support for their indemnity
theory by pointing to the penalty provided in 33                     [17] For these reasons, and in light of the General
U.S.C.A. § 1321(b)(2)(B)(iii) (Supp.1977) which im-             Motors decision, it appears to be the better course not to
poses a “penalty” in lieu of cleanup costs where it is im-      recognize a right to indemnity and, instead, to permit
possible to remove a hazardous substance from the wa-           the absence of culpability to mitigate the amount of the
ter. This penalty, unlike that of Section 1321(b)(6), is        fine. The case should be remanded to the Coast Guard
denominated a “liability” and is subject to the defense         to set a fine consistent with the degree of culpability at-
of third party causation.                                       tributable to the barge owner.

     [16] Clearly, no indemnity could have been sought              ORDER
had the penalty been construed as criminal, intended to
punish the actor. The weight of current authority, dis-             1. Plaintiffs are entitled to limit their liability to the
cussed above, has concluded that this particular penalty        value of the Tug Ocean Prince and the amount of her
is civil and, therefore, the claimed right to indemnity is      pending freight immediately after the grounding, for
at least tenable. However, the penalty imposed in lieu of       which amount Pittston is entitled to judgment with
clean-up costs correlates not to the penalty provision at       costs.
issue here, but rather to the Government's action for the
actual costs of clean-up. Both of these actions recognize            2. Pittston, not having been responsible for the oil
the third party defense, and, thereby, implicitly provide       spill, the Government's cause of action against it for
a ground for indemnity. The absence of a third party de-        cleanup costs is dismissed with costs.
fense in this penalty provision, the language of the stat-
                                                                    3. The claims of plaintiffs and Pittston against the
utes, and the purposes of the various remedies supplied
                                                                United States (in 74 Civ. 3358) and Pittston's counter-
to the Government, lead to the conclusion that no in-
                                                                claim (in 75 Civ. 5801) are dismissed with costs.
demnity right was contemplated for the penalty imposed
by Section 1321(b)(6), even though it is civil in nature.           4. Plaintiffs are liable to the United States for
                                                                cleanup costs not to exceed $19,800.
     Finally, the Government urges that the “flotilla
rule” should apply not only to determine the correct                *927 5. The fine against Pittston is remanded to the
limitation amount but also the possible imposition of           Coast Guard for reconsideration consistent with this
the fine on the third party, Tug Ocean Prince. Both the         opinion. Pittston's claim for indemnity from plaintiffs is
penalty provision, Section 1321(b)(6), and the provision        dismissed with costs.
governing primary liability for cleanup costs, Section
1321(f), impose liability on the “owner or operator of a            6. If the parties cannot agree on the amount of
vessel.” It is at least a tenable construction of the stat-     cleanup costs or the amount of the limitation fund, they




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should advise the Court and the matter will be set for in-
quest.

    SO ORDERED.

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                                                            Judges, filed a concurring opinion.

       United States Court of Appeals,                                         West Headnotes
              Seventh Circuit.
UNITED STATES of America, Plaintiff-Appellee,               [1] Environmental Law 149E            223
                      v.
                                                            149E Environmental Law
    TEX-TOW, INC., Defendant-Appellant.
                                                               149EV Water Pollution
                    No. 78-1656.                                   149Ek223 k. Penalties and Fines. Most Cited
                Argued Oct. 30, 1978.                       Cases
                Decided Dec. 22, 1978.                           (Formerly 199k25.7(23) Health and Environ-
                                                            ment, 270k35)
     Barge operator appealed from a summary judg-               Third-party causation defense contained in the
ment entered by the United States District Court for        provisions of the Federal Water Pollution Control
the Eastern District of Illinois, James L. Foreman,         Act dealing with cleanup liability and liquidated
Chief Judge, enforcing a $350 civil penalty as-             damages liability is not to be read into the civil
sessed by the United States Coast Guard against the         penalty provision. Federal Water Pollution Control
appellant under the Federal Water Pollution Control         Act Amendments of 1972 (Clean Water Act), §
Act for a discharge of oil into navigable waters.           311(b)(1), (2)(B)(iii, iv), (3, 6), (f), 33 U.S.C.A. §
The Court of Appeals, Castle, Senior Circuit Judge,         1321(b)(1), (2)(B)(iii, iv), (3, 6), (f).
held that: (1) the third-party causation defense con-
tained in the provisions of the Federal Water Pollu-        [2] Statutes 361      189
tion Control Act dealing with cleanup liability and
                                                            361 Statutes
liquidated damages liability is not to be read into
                                                               361VI Construction and Operation
the civil penalty provision; (2) presence of defend-
                                                                  361VI(A) General Rules of Construction
ant's tank barge at pier was a legal cause of oil spill,
                                                                      361k187 Meaning of Language
even though defendant was not at fault and the spill
                                                                            361k189 k. Literal and Grammatical
was caused by a third party's act or omission, since
                                                            Interpretation. Most Cited Cases
the fact of the actual pollution plus the statistically
foreseeable pollution attributable to a statutorily         Statutes 361       190
defined type of enterprise satisfied, together, the re-
quirement of cause in fact and legal cause, and (3)         361 Statutes
the “cause” of a spill is the polluting enterprise              361VI Construction and Operation
rather than the conduct of the charged party or a                   361VI(A) General Rules of Construction
third party; accordingly, an owner or operator of a                    361k187 Meaning of Language
discharging facility is liable to a civil penalty under                      361k190 k. Existence of Ambiguity.
the Federal Water Pollution Control Act, even               Most Cited Cases
where it exercised all due care and a third party's              There are two circumstances in which the court
act or omission was the immediate cause of the              may look beyond the express language of a statute
spill.                                                      in order to give force to congressional intent: where
                                                            the statutory language is ambiguous; and where a
    Affirmed.                                               literal interpretation would thwart the purpose of
                                                            the overall statutory scheme or lead to an absurd
    Bauer and Harlington Wood, Jr., Circuit
                                                            result.




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[3] Environmental Law 149E            223                  [6] Environmental Law 149E           223

149E Environmental Law                                     149E Environmental Law
    149EV Water Pollution                                      149EV Water Pollution
        149Ek223 k. Penalties and Fines. Most Cited                149Ek223 k. Penalties and Fines. Most Cited
Cases                                                      Cases
      (Formerly 199k25.7(23) Health and Environ-                 (Formerly 199k25.7(23) Health and Environ-
ment, 270k35)                                              ment, 270k35)
     A literal interpretation of the Federal Water              Presence of defendant's tank barge at pier was a
Pollution Control Act's penalty provision, accord-         legal cause of oil spill, even though defendant was
ing no third party or other defenses to the civil pen-     not at fault and the spill was caused by a third
alty, will further the overall statutory scheme of         party's act or omission, since the fact of the actual
shifting the cost of pollution onto the polluting en-      pollution plus the statistically foreseeable pollution
terprise. Federal Water Pollution Control Act              attributable to a statutorily defined type of enter-
Amendments of 1972 (Clean Water Act), §                    prise satisfied, together, the requirement of cause in
311(b)(6), 33 U.S.C.A. § 1321(b)(6).                       fact and legal cause. Federal Water Pollution Con-
                                                           trol Act Amendments of 1972 (Clean Water Act), §
[4] Environmental Law 149E            223                  311(b)(6), 33 U.S.C.A. § 1321(b)(6).

149E Environmental Law                                     [7] Negligence 272       387
    149EV Water Pollution
        149Ek223 k. Penalties and Fines. Most Cited        272 Negligence
Cases                                                         272XIII Proximate Cause
      (Formerly 199k25.7(23) Health and Environ-                  272k374 Requisites, Definitions and Distinc-
ment, 270k35)                                              tions
     Absolute liability in the case of the civil pen-                   272k387 k. Foreseeability. Most Cited
alty imposed by Federal Water Pollution Control            Cases
Act is not unduly harsh or unreasonable in view of            (Formerly 272k59)
the limited nature of the liability and the flexibility        The statistical foreseeability of an accident is a
afforded by the statutory directive that the Coast         proper basis on which to affix legal responsibility.
Guard, in setting the amount of the penalty, take in-
to account the charged party's ability to pay and the      [8] Environmental Law 149E           223
“gravity of the violation,” which has been inter-
                                                           149E Environmental Law
preted by the Coast Guard to include degree of
                                                               149EV Water Pollution
culpability. Federal Water Pollution Control Act
                                                                   149Ek223 k. Penalties and Fines. Most Cited
Amendments of 1972 (Clean Water Act), §
                                                           Cases
311(b)(6), 33 U.S.C.A. § 1321(b)(6).
                                                                 (Formerly 199k25.7(23) Health and Environ-
[5] Negligence 272        405                              ment, 270k35)
                                                                Under the absolute liability standard involved
272 Negligence                                             in the Federal Water Pollution Control Act, neither
    272XIII Proximate Cause                                fault nor defect need be proved, so foreseeability is
       272k405 k. Strict Liability. Most Cited Cases       used not to establish these but rather to affix legal
    (Formerly 379k15)                                      responsibility despite the absence of fault or defect
     Causation is required even under a strict liabil-     and also to limit the scope of that liability. Federal
ity statute.                                               Water Pollution Control Act Amendments of 1972




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(Clean Water Act), § 311(b)(6), 33 U.S.C.A. §              Robert L. Simpkins, Asst. U. S. Atty., East St.
1321(b)(6).                                                Louis, Ill., for plaintiff-appellee.

[9] Environmental Law 149E           166
                                                           Before CASTLE, Senior Circuit            Judge,   and
149E Environmental Law                                     BAUER and WOOD, Circuit Judges.
    149EV Water Pollution
          149Ek163 Constitutional Provisions, Stat-        CASTLE, Senior Circuit Judge.
utes, and Ordinances                                            Tex-Tow, Inc. appeals from the district court's
           149Ek166 k. Validity. Most Cited Cases          enforcement by way of summary judgment of a
      (Formerly 199k25.7(23) Health and Environ-           $350 civil penalty assessed by the United States
ment, 270k35)                                              Coast Guard against Tex-Tow under section
     Federal Water Pollution Control Act's imposi-         1321(b)(6) of the Federal Water Pollution Control
tion of a civil penalty in a situation of third-party      Act (FWPCA) [FN1] for a discharge of oil into
causation for an oil spill is not irrational and com-      navigable waters in violation of section 1321(b)(3)
ports with substantive due process, since the pur-         of the Act. In this case, as in United States v. Mara-
pose of the Act's civil penalty provision is not only      thon Pipe Line Company, 589 F.2d 1305 (7th Cir.
to deter spills but also has certain nondeterrent,         1978), decided this same day, a company was held
economic purposes rationally served by an absolute         liable to a civil penalty based on its ownership or
liability standard. Federal Water Pollution Control        operation of a discharging facility even though it
Act Amendments of 1972 (Clean Water Act), §                was not at fault and the spill was caused by a third
311(b)(3, 6), 33 U.S.C.A. § 1321(b)(3, 6);                 party's act or omission. In Marathon, the company
U.S.C.A.Const. Amends. 5, 14.                              argued that no more than a nominal penalty could
                                                           be imposed in the absence of fault. Here, Tex-Tow
[10] Environmental Law 149E           223                  argues that no penalty, nominal or substantial, can
                                                           be imposed on a party that did not “cause” the spill.
149E Environmental Law                                     We sustain the penalty against this new attack for
    149EV Water Pollution                                  much the same reasons as in Marathon, as Tex-
        149Ek223 k. Penalties and Fines. Most Cited        Tow's causation argument is very similar to Mara-
Cases                                                      thon's fault argument and suffers from the same de-
      (Formerly 199k25.7(23) Health and Environ-           fect that it ignores the absolute nature of the civil
ment, 270k35)                                              penalty liability, as well as the penalty's remedial
     “Cause” of a spill is the polluting enterprise        and economic rather than deterrent objectives.
rather than the conduct of the charged party or a
third party; accordingly, an owner or operator of a                 FN1. 33 U.S.C. s 1321(b)(6) (1976). All
discharging facility is liable for a civil penalty un-              references to the FWPCA in this opinion
der the Federal Water Pollution Control Act, even                   are to the 1972 and 1973 amended ver-
where it exercised all due care and a third party's                 sions. The 1977 amendments, which
act or omission was the immediate cause of the                      changed the wording of section 1321(b)(6),
spill. Federal Water Pollution Control Act Amend-                   do not apply to this case as the spill oc-
ments of 1972 (Clean Water Act), § 311(b)(6), 33                    curred in 1974.
U.S.C.A. § 1321(b)(6).
                                                                Tex-Tow operated a tank barge which was be-
*1312 Larry D. King, Houston, Tex., for defendant-         ing loaded with a cargo of gasoline at a dock on the
appellant.                                                 Mississippi River owned and operated by Mobil Oil
                                                           Company. As the barge was filled with gasoline, it




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sank deeper into the water, settling on an underwa-                ity.”
ter steel piling that was part of the dock structure.
The piling punctured the hull of the barge, resulting              FN3. The EPA is charged with drawing up
in a discharge of 1600 gallons of gasoline into the                a schedule assigning appropriate per unit
river. Concededly Tex-Tow was not at fault as there                penalties to various nonremovable sub-
is no reasonable way it could have known of the                    stances. s 1321(b)(2)(B)(iv).
piling and it received no warning from Mobil. We
                                                                   FN4. This penalty, assessed only where
will also assume for purposes of this opinion that
                                                                   clean-up is impossible due to the nonre-
Tex-Tow would have a third-party causation de-
                                                                   movable nature of the hazardous sub-
fense (on the basis of an act or omission by Mobil),
                                                                   stance, has elsewhere been called a
if such a defense were available in the case of the
                                                                   “penalty in lieu of clean-up costs.” See, e.
civil penalty.
                                                                   g., United States v. General Motors Corp.,
                The Statutory Scheme                               403 F.Supp. 1151, 1157 (D.Conn.1975).
     The FWPCA was enacted “to restore and main-
                                                                   FN5. Section 1321(b)(6) states:
tain the chemical, physical, and biological integrity
of the Nation's waters.” 33 U.S.C. s 1251(a). To-                  Any owner or operator of any vessel, on-
ward that end, Congress set the goal of eliminating                shore facility, or offshore facility from
the discharge of all pollutants into navigable waters              which oil or a hazardous substance is dis-
by 1985. s 1251(a)(1). Section 1321, dealing with                  charged in violation of (section 1321(b)(3)
oil and hazardous substance liability, sets a “no dis-             ) shall be assessed a civil penalty by the
charge” policy of immediate effect and prohibits                   Secretary of the department in which the
any discharge in harmful quantities. ss 1321(b)(1)                 Coast Guard is operating of not more than
and (3). The section holds owners or operators                     $5,000 for each offense. No penalty shall
*1313 of discharging facilities [FN2] liable for                   be assessed unless the owner or operator
clean-up costs, subject to the defenses of act of                  charged shall have been given notice and
God, act of war, negligence of the United States                   opportunity for a hearing on such charge.
Government, or act or omission of a third party. s                 Each violation is a separate offense. Any
1321(f). If the discharged substance is nonremov-                  such civil penalty may be compromised by
able, the owner or operator is liable to a variable                such Secretary. In determining the amount
civil penalty dependent on the amount and toxicity                 of the penalty, or the amount agreed upon
of the substance spilled.[FN3] This “liquidated                    in compromise, the appropriateness of such
damages liability” [FN4] is again subject to the four              penalty to the size of the business of the
enumerated defenses. s 1321(b)(2)(B)(iii). Finally,                owner or operator charged, the effect on
section 1321(b)(6), the immediate focus of our con-                the owner or operator's ability to continue
cern here, makes owners and operators liable to a                  in business, and the gravity of the viola-
civil penalty of up to $5,000, with no provision for               tion, shall be considered by such Secretary.
any defenses but with the amount of the penalty to                 ...
be determined by the Coast Guard, which is instruc-
ted to take into account ability to pay and “gravity                      Statutory Interpretation
of the violation.” [FN5]                                        [1][2][3][4] First, Tex-Tow argues that the
                                                           third party causation defense contained in the pro-
         FN2. The term “discharging facilities”            visions dealing with clean-up liability and liquid-
         shall be used where the statute refers to         ated damages liability should also be read into the
         “vessel, onshore facility, or offshore facil-     civil penalty provision. We decline to do so, as did




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the court in United States v. General Motors Corp.,         cause also exists. This is “essentially a question of
403 F.Supp. 1151, 1157 (D.Conn.1975). As stated             whether the policy of the law will extend the re-
in International Telephone and Telegraph Corpora-           sponsibility for the conduct to the consequences
tion v. General Telephone & Electronics Corpora-            which have in fact occurred.” Prosser, The Law of
tion, 518 F.2d 913, 917-918 (9th Cir. 1975):                Torts 244, s 42 (4th ed. 1971). Tex-Tow argues that
                                                            the mere presence of its barge at the dock is not
     There are two circumstances in which this              sufficient to constitute legal cause. We believe,
court may look beyond the express language of a             however, that more than “mere presence” was in-
statute in order to give force to Congressional in-         volved here. Tex-Tow was engaged in the type of
tent: where the statutory language is ambiguous;            enterprise which will inevitably cause pollution and
and where a literal interpretation would thwart the         on which Congress has determined to shift the cost
purpose of the over-all statutory scheme or lead to         of pollution when the additional element of an actu-
an absurd result. (Citations omitted.)                      al discharge is present. These two elements, actual
                                                            pollution plus statistically foreseeable pollution at-
     Neither of these circumstances is present here.
                                                            tributable to a statutorily defined type of enterprise,
The statutory language is not ambiguous, and a lit-
                                                            [FN7] together satisfy the requirement of cause in
eral interpretation according no third party or other
                                                            fact and legal cause. Foreseeability both creates
defenses to the civil penalty furthers the overall
                                                            legal responsibility and limits it. An enterprise such
statutory scheme of shifting the cost of pollution
                                                            as Tex-Tow engaged in the transport of oil can
onto the polluting enterprise. It is true that the stat-
                                                            foresee that spills will result despite all precautions
ute affords narrow defenses to the two other liabilit-
                                                            and that some of these will result from the acts or
ies, however absolute liability in the case of the
                                                            omissions of third parties. Although a third party
civil penalty is not unduly harsh or unreasonable in
                                                            may be responsible for the immediate act or omis-
view of the limited nature of the liability
                                                            sion which “caused” the spill, Tex-Tow was en-
(maximum of $5,000) and the flexibility afforded
                                                            gaged in the activity or enterprise which “caused”
by the statutory directive that the Coast Guard, in
                                                            the spill. Congress had the power to make certain
setting the amount of the penalty, take into account
                                                            oil-related activities or enterprises the “cause” of
the charged party's ability to pay and the “gravity of
                                                            the spill rather than the conduct of a third party.
the violation,” which has been interpreted by the
                                                            [FN8] With respect to the civil penalty Congress
Coast Guard to include degree of culpability.[FN6]
                                                            has exercised this power.
         FN6. “Coast Guard Policy for the Applica-
                                                                     FN7. Namely an “owner or operator of any
         tion of Civil Penalties under Section
                                                                     vessel, onshore facility, or offshore facil-
         311(b)(6), FWPCA,” reprinted as an ap-
                                                                     ity” which pollutes navigable waters.
         pendix to United States v. LeBeouf Bros.
         Towing Co., Inc., 377 F.Supp. 558, 569                      FN8. In fact, the essence of absolute liabil-
         (E.D.La.1974).                                              ity is that Conduct is irrelevant. “Treating
                                                                     the problems of accident law in terms of
     [5][6] Tex-Tow, however, asserts that a causa-
                                                                     activities rather than in terms of careless
tion requirement must be implied in the civil pen-
                                                                     conduct is the first step toward a rational
alty provision because no liability may exist in the
                                                                     system of resource allocation.” G. Ca-
absence of causation. We agree that causation is re-
                                                                     labresi, The Decision for Accidents: An
quired even under a strict liability statute, however
                                                                     Approach to Nonfault Allocation of Costs,
*1314 Tex-Tow has conceded that the presence of
                                                                     78 Harv.L.Rev. 713, 716 (1965).
its barge at the pier was a cause in fact of the spill.
The only question is whether legal, or proximate,               [7][8] The statistical foreseeability of an acci-




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dent is a proper basis on which to affix legal re-                  the owner or operator of a vessel or of an
sponsibility. In Mickle v. Blackmon, 252 S.C. 202,                  onshore facility or an offshore facility may
166 S.E.2d 173 (1969) the statistical foreseeability                have against any third party whose acts
of automobile accidents gave rise to a manufac-                     may in any way have caused or contributed
turer's duty to design cars to minimize injury upon                 to such discharge . . . .
collision. In Davis v. Wyeth Laboratories, Inc., 399
F.2d 121 (9th Cir. 1968), the statistical foreseeabil-              Tug Ocean Prince, supra, interpreted
ity of some adverse reactions to a polio vaccine                    “liabilities” as not including the civil pen-
gave rise to a manufacturer's duty to warn con-                     alty.
sumers, as marketing the vaccine without the warn-
                                                                    FN10. In other words, Tex-Tow is the
ing was held to constitute a “defect” under strict
                                                                    “cheapest cost avoider.” G. Calabresi and
products liability law. Under the absolute liability
                                                                    J. Hirschoff, Toward a Test for Strict Liab-
standard here involved neither fault nor defect need
                                                                    ility in Torts, 81 Yale L.J. 1055, 1060
be proved, so foreseeability is used not to establish
                                                                    (1972).
these but rather to affix legal responsibility despite
the absence of fault or defect and also to limit the                FN11. This is the theory of cost
scope of that liability.                                            “internalization,” under which the social
                                                                    costs of an enterprise are attributed to that
     We note that the question of ultimate liability
                                                                    enterprise. The enterprise will presumably
remains unresolved, as Tex-Tow may still have an
                                                                    pass such costs on to consumers of its
indemnity cause of action against Mobil under sec-
                                                                    product in the form of higher prices. The
tion 1321(h). However, the only court to consider
                                                                    consumer will then be charged the true
the question has construed section 1321(h) as not
                                                                    cost of the product (cost to the manufac-
extending the indemnity cause of action to recovery
                                                                    turer plus cost to society), and in making
of the civil penalty. Tug Ocean Prince, Inc. v.
                                                                    his personal decision as to whether the
United      States,   436     F.Supp.      907,   926
                                                                    product is “worth it” also be casting a vote
(S.D.N.Y.1977).[FN9] Such an interpretation is
                                                                    as to the social utility of the product. See,
consistent with the economic or risk-shifting view
                                                                    e. g., Calabresi, The Decision for Acci-
of the civil penalty here taken, as the party engaged
                                                                    dents, note 8 Supra, at 717-20.
in the potentially polluting enterprise is in the best
position to estimate the risk of accidental pollution                     Substantive Due Process
and plan accordingly, as by raising its prices or pur-          [9] What we have already said respecting Tex-
chasing insurance.[FN10] Economically, it makes            Tow's statutory interpretation argument goes far to-
sense to place the cost of pollution on *1315 the en-      ward refuting Tex-Tow's second argument that im-
terprise (here water transport of gasoline) which          posing a civil penalty in a situation of third party
statistically will cause pollution and in fact does        causation is irrational. First, we note that the Su-
cause pollution.[FN11] We do not, however, here            preme Court has not struck down an economic reg-
decide the question of ultimate liability.                 ulation on the substantive due process grounds here
                                                           urged since 1937.[FN12] Second, Tex-Tow's claim
         FN9. Section 1321(h) provides as follows:
                                                           of irrationality is grounded in the assumption that
         (h) Rights against third parties who caused       the purpose of the civil penalty is to Deter spills. As
         or contributed to discharge                       we have already explained here and in Marathon,
                                                           the civil penalty also has certain non-deterrent, eco-
         The liabilities established by this section       nomic purposes which are rationally served by an
         shall in no way affect any rights which (1)       absolute liability standard.




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         FN12. G. Gunther, Constitutional Law                       FN15. Id. at Sec. 5(b).
         Cases And Materials 591 (9th ed. 1975).
         “Economic regulation” is used in contrast              The civil penalty is directly implicated in all
         to regulation of non-economic personal in-        these remedial functions as proceeds from civil
         terests. Id. at 565, 567. The civil penalty       penalty collections are to be placed in the revolving
         would clearly be an economic regulation as        fund which finances these government activities. s
         no personal or non-economic interest of           1321(k). It is reasonable to require those who
         Tex-Tow is involved.                              “cause” damage, not by their conduct but by the
                                                           activity they are engaged in, to pay for the costs of
     There are several indicia in section 1321 itself      abating that damage. Forfeitures have been used to
of purposes other than deterrence: neither clean-up        finance a regulatory scheme, See, e. g. One Lot
liability nor liquidated damages liability is              Emerald Cut Stones v. United States, 409 U.S. 232,
premised on a finding of fault,[FN13] and, of              93 S.Ct. 489, 34 L.Ed.2d 438 (1972), and penalties
course, civil penalty liability is absolute, although      or forfeitures have been sustained against due pro-
tempered by the statutory directive that “gravity of       cess attack even though the charged party was
the violation” be considered in setting the amount         faultless and a third party was the immediate cause
of the penalty. There is also evidence of a Remedial       of the violation. Calero-Toledo v. Pearson Yacht
purpose to clean up spills once they occur rather          Leasing Co., 416 U.S. 663, 94 S.Ct. 2080, 40
than solely a Deterrent purpose to prevent spills in       L.Ed.2d 452 (1974) (yacht forfeited even though
the first instance. The section provides for govern-       third parties violated the drug laws), Edelberg v.
ment clean-up of disaster spills, s 1321(d), and of        Illinois Racing Bd., 540 F.2d 279 (7th Cir. 1976)
other spills which the discharger does not clean up        (winnings forfeited although third parties drugged
itself, s 1321(c)(1). To fulfill this remedial func-       the horse). *1316 The present case is stronger than
tion, the Council on Environmental Quality [FN14]          these forfeiture cases as the activity of the charged
is directed to develop a National Contingency Plan,        owner or operator (water transportation of oil) Is re-
pursuant to which the EPA and the Coast Guard              sponsible for the pollution.
[FN15] are authorized, Inter alia, to set up detection
systems, purchase removal equipment, and train                 [10] We hold that the “cause” of a spill is the
and maintain a strike force. s 1321(c) (2).                Polluting enterprise rather than the Conduct of the
                                                           charged party or a third party. Accordingly, an
         FN13. The defenses of act of God, act of          owner or operator of a discharging facility is liable
         war, negligence of the United States Gov-         to a section 1321(b)(6) civil penalty even where it
         ernment, and act or omission of a third           exercised all due care and a third party's act or
         party leave open the possibility that a           omission was the immediate cause of the spill.
         faultless owner or operator will neverthe-
         less be held liable because of the inapplic-          Affirmed.
         ability of any of these four narrow de-
                                                           BAUER and WOOD, Circuit Judges, concurring.
         fenses.
                                                               We concur, but with the same reservations we
         FN14. The President delegated his plan-           expressed in concurring in United States v. Mara-
         ning authority under s 1321(c)(2) to the          thon Pipe Line Company, 589 F.2d 1305, also de-
         Council on Environmental Quality. Exec-           cided this date.
         utive Order No. 11735, Assignment of
                                                           C.A.Ill., 1978.
         Presidential Functions, Sec. 4 (appended to
                                                           U.S. v. Tex-Tow, Inc.
         33 U.S.C. s 1321).
                                                           589 F.2d 1310, 12 ERC 1593, 1980 A.M.C. 2936, 9




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